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     CONCORDE CAREER COLLEGES, INC.
 7   (erroneously named “Concorde Career College”)
 8
 9
                                 UNITED STATES DISTRICT COURT
10
                            CENTRAL DISTRICT OF CALIFORNIA
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12
     KIMBERLY BANKSTON-BRADSHAW,                                 2:24-cv-4794
                                                     Case No. ________________
13
                    Plaintiff,                       (San Bernardino County Superior Court,
14                                                   Case No. CIVSB2413668)
              v.
15                                                   DEFENDANT CONCORDE
     CONCORDE CAREER COLLEGE; and                    CAREER COLLEGE’S NOTICE OF
16   DOES 1 through 20, inclusive,                   REMOVAL OF CIVIL ACTION TO
                                                     UNITED STATES DISTRICT
17                  Defendants.                      COURT
18                                                   [Filed Concurrently With Defendant
                                                     Concorde Career Colleges, Inc.’s;
19                                                   Declaration Of Jennifer Rojas;
                                                     Declaration Of Joshua A. Rodine;
20                                                   Certification Of Interested Parties;
                                                     Corporate Disclosure Statement; Civil
21                                                   Cover Sheet; And Proof of Service]
22                                                   Complaint Filed: April 19, 2024
                                                     Complaint Served: May 10, 2024
23                                                   Trial Date:
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                                   DEFENDANT’S NOTICE OF REMOVAL
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 1            To the United States District Court for the Central District of California and to all
 2   parties of record:
 3            Please take notice that Defendant Concorde Career Colleges, Inc., (“Defendant”)
 4   hereby files this Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1367, 1441, and 1446,
 5   based on federal question jurisdiction and diversity of citizenship jurisdiction, in order to
 6   effectuate the removal of the above-captioned action from the Superior Court of the State
 7   of California, County of San Bernardino, to the United States District Court for the
 8   Central District of California. Defendant states that removal is proper for the following
 9   reasons:
10   I.       BACKGROUND
11            1.    On April 19, 2024, Plaintiff Kimberly Bankston-Bradshaw (“Plaintiff”) filed
12   a Complaint in the Superior Court of the State of California, County of San Bernardino,
13   entitled, Kimberly Bankston-Bradshaw v. Concorde Career College; and DOES 1
14   through 20, inclusive, designated as Case No. CIVSB2413668. In the Complaint, Plaintiff
15   asserts four causes of action: (1) gender and racial discrimination in violation of
16   Government Code § 12940; (2) failure to prevent discrimination and retaliation in
17   violation of Government Code § 12940(k); (3) retaliation and wrongful termination in
18   violation of public policy; and (4) violation of California Civil Code Section 43.
19            2.    On May 10, 2024, Plaintiff served Defendant through its registered agent for
20   service or process. True and correct copies of these documents served on Concorde are
21   attached as Exhibit 1.
22            3.    On June 3, 2024, Concorde filed its Answer to the Complaint in San
23   Bernardino County Superior Court. A true and correct copy of Concorde’s Answer filed
24   in San Bernardino County Superior Court is attached as Exhibit 2.
25            4.    Exhibit 1 and Exhibit 2 constitute all of the pleadings properly served on
26   Concorde or filed by Concorde in the state court action prior to filing this Notice of
27   Removal. The only hearing currently scheduled in the state court action is a Case
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 1   Management Conference set for November 4, 2024, in Department S30 of the San
 2   Bernardino County Superior Court.
 3   II.      TIMELINESS OF REMOVAL
 4            5.    A notice of removal is timely if it is filed within 30 days after the service of
 5   the complaint or summons. 28 U.S.C. §1446(b)(1) (“The notice of removal … shall be
 6   filed within 30 days after the receipt by the defendant, through service or otherwise, of a
 7   copy of the initial pleading setting forth the claim for relief upon which such action or
 8   proceeding is based, or within 30 days after the service of summons upon the
 9   defendant ….”).
10            6.    The service of process that triggers the 30-day period to remove is governed
11   by state law. Whidbee v. Pierce Cty., 857 F.3d 1019, 1023 (9th Cir. 2017) (“When a case
12   is removed from state court to federal court, the question whether service of process was
13   sufficient prior to removal is governed by state law.”); City of Clarksdale v. BellSouth
14   Telecommunications, Inc., 428 F.3d 206, 210 (5th Cir. 2005) (“Although federal law
15   requires the defendant to file a removal motion within thirty days of service, the term
16   ‘service of process’ is defined by state law.”). Section 415.10 of the California Code of
17   Civil Procedure provides that “[a] summons may be served by personal delivery of a
18   copy of the summons and of the complaint to the person to be served. Service of a
19   summons in this manner is deemed complete at the time of such delivery.” Id.
20            7.    Concorde’s Notice of Removal is timely, because it is filed on June 7, 2024,
21   which is within 30 days of service of the Summons and Complaint on May 10, 2024.
22   (Exhibit 1); see, e.g., Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344,
23   347–48 (1999) (“[W]e hold that a named defendant’s time to remove is triggered by
24   simultaneous service of the summons and complaint ….”).
25   III.     JURISDICTION BASED ON DIVERSITY OF CITIZENSHIP
26            8.    The Court has original jurisdiction of this action under 28 U.S.C. §
27   1332(a)(1). As set forth below, this action is removable pursuant to 28 U.S.C. § 1441(a)
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 1   as the amount in controversy is in excess of $75,000, exclusive of interest and costs, and
 2   is between citizens of different states.
 3            A.    Plaintiff Is a Citizen of California
 4            9.    “An individual is a citizen of the state in which he is domiciled ….” Boon v.
 5   Allstate Ins. Co., 229 F. Supp. 2d 1016, 1019 (C.D. Cal. 2002) (citing Kanter v. Warner-
 6   Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001)). For purposes of diversity jurisdiction,
 7   citizenship is determined by the individual’s domicile at the time that the lawsuit is filed.
 8   Armstrong v. Church of Scientology Int’l, 243 F.3d 546, 546 (9th Cir. 2000) (citing Lew v.
 9   Moss, 797 F.2d 747, 750 (9th Cir. 1986)). A person’s domicile is the place he or she
10   resides with the intent to remain indefinitely. Kanter v. Warner-Lambert Co., 265 F.3d
11   853, 857 (9th Cir. 2001). Residence is prima facie evidence of domicile. State Farm Mut.
12   Auto Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994) (holding that “the place of
13   residence is prima facie [evidence of] domicile”).
14            10.   Plaintiff was employed by Concorde in the State of California in the County
15   of San Bernardino, until she was terminated in August 2023. (Declaration of Jennifer
16   Rojas [“Rojas Dec.”] ¶¶ 5-6.) Plaintiff’s home address during the entire time period that
17   she worked for Concorde, was within the State of California. (Id.) There are no
18   documents in Plaintiff’s personnel file to suggest that, at any time during her employment,
19   she was a resident or citizen of any state other than California. (Id.)
20            B.    Concorde Is Not a Citizen of California
21            11.   For diversity purposes, a corporation is deemed to be a citizen of any state in
22   which it has been incorporated and of any state where it has its principal place of business.
23   28 U.S.C. § 1332(c)(1). The “principal place of business” for the purpose of determining
24   diversity subject matter jurisdiction refers to “the place where a corporation’s officers
25   direct, control, and coordinate the corporation’s activities.… [I]n practice it should
26   normally be the place where the corporation maintains its headquarters-provided that the
27   headquarters is the actual center of direction, control, and coordination, i.e., the ‘nerve
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 1   center,’ and not simply an office where the corporation holds its board meetings[.]” See
 2   Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010).
 3            12.   Concorde is and was at the time of the institution of this civil action, a
 4   corporation formed under the laws of the State of Delaware and has its headquarters and
 5   its principal place of business in Mission, Kansas. (Rojas Dec. ¶¶ 3-4.)
 6            13.   The United States Supreme Court held that when determining a
 7   corporation’s principal place of business for diversity purposes, the appropriate test is the
 8   “nerve center” test. Hertz Corp., 559 U.S. at 80-81, 92-93. Under the “nerve center” test,
 9   the “principal place of business” means the corporate headquarters where a corporation’s
10   high level officers direct, control and coordinate its activities on a day-to-day basis. Id.
11   (“We conclude that ‘principal place of business’ is best read as referring to the place
12   where a corporation’s officers direct, control, and coordinate the corporation’s activities”).
13            14.   Under the “nerve center” test, Kansas emerges as Defendant’s principal
14   place of business. Defendant’s corporate headquarters are located in Mission, Kansas
15   where Defendant’s high level officers direct, control, and coordinate Defendant’s
16   activities. (Rojas Dec. ¶ 4.) Defendant’s high level corporate officers maintain offices in
17   Kansas, and many of Defendant’s corporate level functions are performed in the Kansas
18   office. (Id.) Additionally, many of Defendant’s executive and administrative functions,
19   including corporate finance and accounting, are directed from the Mission, Kansas office.
20   (Id.)
21            15.   Accordingly, pursuant to 28 U.S.C. section 1332(c), Concorde is a citizen of
22   Delaware and Kansas for diversity purposes.
23            C.    DOE DEFENDANTS’ CITIZENSHIP
24            16.   The presence of Doe defendants in this case has no bearing on diversity of
25   citizenship for removal. 28 U.S.C. § 1441(a) (“For purposes of removal under this
26   chapter, the citizenship of defendants sued under fictitious names shall be disregarded.”).
27            17.   Pursuant to 28 U.S.C. section 1441(a), the residence of fictitious and
28   unknown defendants should be disregarded for purposes of establishing removal
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 1   jurisdiction under 28 U.S.C. § 1332. Soliman v. Philip Morris, Inc., 311 F.3d 966, 971
 2   (9th Cir. 2002) (“citizenship of fictitious defendants is disregarded for removal purposes
 3   and becomes relevant only if and when the plaintiff seeks leave to substitute a named
 4   defendant”); Fristoe v. Reynolds Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980)
 5   (unnamed defendants are not required to join in a removal petition). Thus, the existence
 6   of Doe defendants 1 through 20, inclusive, does not deprive this Court of jurisdiction.
 7   IV.      THE AMOUNT IN CONTROVERSY EXCEEDS $75,000
 8            18.   While Concorde denies any liability as to Plaintiff’s claims, the amount in
 9   controversy requirement for diversity jurisdiction is satisfied because “it is more likely
10   than not” that the amount exceeds the jurisdictional minimum of $75,000. 28 U.S.C.
11   § 1332(a)(1); see Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996)
12   (where a state court complaint does not specify a particular amount of damages, the
13   defendant must provide evidence establishing that it is “more likely than not” that the
14   amount in controversy exceeds the requisite threshold) (emphasis added).
15            19.   Where a complaint does not allege a specific amount in damages, the
16   removing defendant bears the burden of proving by a preponderance of the evidence that
17   the amount in controversy exceeds the statutory minimum. Abrego v. The Dow Chem.
18   Co., 443 F.3d 676, 683 (9th Cir. 2006); Guglielmino v. McKee Foods Corp., 506 F.3d
19   696, 701 (9th Cir. 2007). Furthermore, “the amount-in-controversy inquiry in the removal
20   context is not confined to the face of the complaint.” Valdez v. Allstate Ins. Co., 372 F.3d
21   1115, 1117 (9th Cir. 2004) (finding that a court may consider facts presented in the
22   removal petition). When the amount in controversy is not apparent from the face of the
23   complaint, a defendant may set forth underlying facts supporting its assertion that the
24   amount in controversy exceeds the jurisdictional threshold. Id.; see also Gaus v. Miles,
25   Inc., 980 F.2d 564, 566-67 (9th Cir. 1992).
26            20.   As the Supreme Court has explained, “a defendant’s notice of removal need
27   only include a plausible allegation that the amount in controversy exceeds the
28   jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S.
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 1   81, 87, 135 S. Ct. 547, 553-54 (2014) (“[W]hen a defendant seeks federal-court
 2   adjudication, the defendant’s amount-in-controversy allegation should be accepted when
 3   not contested by the plaintiff or questioned by the court.”); see also Valdez, 372 F.3d at
 4   1117 (“the parties need not predict the trier of fact’s eventual award with one hundred
 5   percent accuracy”). Defendant(s) are not obligated to “research, state, and prove the
 6   plaintiff’s claims for damages.” Behrazfar v. Unisys Corp., 687 F. Supp. 2d 999, 1004
 7   (C.D. Cal. 2009) (quoting Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199,
 8   1204-05 (E.D. Cal. 2008)); Rippee v. Boston Market Corp., 408 F. Supp. 2d 982, 986
 9   (S.D. Cal. 2005) (noting that the inquiry is “what is in controversy” by the plaintiff’s
10   complaint, not what a defendant will actually owe).
11            21.   In determining whether a complaint meets the $75,000 threshold under 28
12   U.S.C. section 1332(a), the Court must consider a plaintiff’s alleged aggregate damages,
13   special damages, punitive damages, and attorneys’ fees. See Galt G/S v. JSS Scandinavia,
14   142 F.3d 1150, 1156 (9th Cir. 1998) (claims for statutory attorneys’ fees may be included
15   in amount in controversy, regardless of whether such an award is discretionary or
16   mandatory); Davenport v. Mutual Benefit Health & Accident Ass’n, 325 F.2d 785, 787
17   (9th Cir. 1963) (punitive damages may be taken into account in determining amount in
18   controversy where recoverable under state law); Conrad Assocs. v. Hartford Accident &
19   Indemnity Co., 994 F. Supp. 1196, 1198 (N.D. Cal. 1998) (“amount in controversy”
20   includes claims for general and special damages).
21            22.   The calculations supporting the amount in controversy are based on
22   Plaintiff’s potential recovery pursuant to the claims alleged in the Complaint, assuming,
23   without any admission, the truth of any of the allegations, and assuming liability (which
24   Concorde vehemently disputes) based on Plaintiff’s theory of recovery.
25            23.   Here, Plaintiff alleges, under various legal theories, that “As a direct,
26   foreseeable and proximate result of Defendants’ behavior, Plaintiff has suffered, and
27   continues to suffer, damages in an amount according to proof at trial.” (Exhibit 1—
28   Compl. ¶ 56.)
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 1            24.   Additionally, in her Prayer for Relief, Plaintiff seeks “actual damages,”
 2   “special damages,” “consequential damages,” “exemplary damages,” “restitution of all
 3   unpaid wages,” “costs incurred,” “attorneys’ fees,” and “double damages pursuant to
 4   Section 972 of the California Labor Code.” (Exhibit 1—Compl. 16:14-17:8.)
 5            25.   Compensatory Damages. In her Complaint, Plaintiff seeks to recover
 6   “actual damages, including loss of past and future earnings.” (Exhibit 1—Compl. 16:14-
 7   15.)
 8            26.   Plaintiff was initially hired as an academic dean, but was promoted to
 9   Campus President in October 2022. (Compl. ¶¶ 12-13.) Plaintiff’s annual salary at the
10   time of her termination was approximately $175,100.12. (Rojas Dec. ¶ 7.) Plaintiff
11   alleges she was terminated on or about August 21, 2023. (Compl. ¶ 38.) Conservatively
12   estimating a April 2025, trial date (twelve months after the Complaint was filed),
13   Plaintiff’s lost wages alone would amount to approximately $291,834; i.e., twenty
14   months between her alleged termination and trial.
15            27.   In addition to back pay, a plaintiff who prevails on a claim for wrongful
16   termination or discriminatory discharge of employment may be entitled to either
17   reinstatement or an award of “front pay” in lieu of reinstatement. See, e.g., Cassino v.
18   Reichhold Chemicals, Inc., 817 F.2d 1338, 1346 (9th Cir. 1997) (stating that a court has
19   discretion to award front pay in lieu of reinstatement); Secru v. Laboratory Corp. of
20   America, No. 3:09–cv–0619–LRH–RAM, 2009 WL 3755763, at * 2, n.3 (D. Nev. Nov. 9,
21   2009) (future lost wages alone can satisfy amount in controversy); James v. Childtime
22   Childcare, Inc., No. Civ. S-06-2676 DFL DAD, 2007 WL 1589543, at *2, n.1 (E.D. Cal.
23   June 1, 2007) (while courts evaluate the amount in controversy at the time of removal,
24   future lost wages are properly considered in that calculation); see also Crum v. Circus
25   Circuit Enters., 231 F.3d 1129, 1131 (9th Cir. 2000) (future damages are properly
26   considered in determining amount in controversy).
27            28.   An award of three years’ front pay would entitle Plaintiff to more than
28   $525,000 in additional recovery. See Traxler v. Multnomah County, 569 F.3d 1007, 1015
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 1   (9th Cir. 2010) (upholding district court’s decision to award nearly four years’ front pay
 2   in a wrongful termination suit); see also Glenn-Davis v. City of Oakland, No. C 02-2257
 3   SI, 2008 WL 410239, *4 (N.D. Cal. 2008) (finding three years of front pay “appropriate”
 4   in a discrimination suit); Ackerman v. Western Elec. Co., Inc., 643 F. Supp. 836, 856
 5   (N.D. Cal. 1986) (same). Thus, Plaintiff’s allegations of lost wages alone exceed
 6   $816,000.
 7            29.   Punitive Damages. In her Complaint, Plaintiff seeks to recover “exemplary
 8   damages” under California Code of Civile Procedure section 3294. (Exhibit 1—Compl.
 9   16:20-21.)
10            30.   The Court must consider Plaintiff’s request for punitive damages in
11   determining the amount in controversy. Gibson v. Chrysler Corp., 261 F. 3d 927, 945
12   (9th Cir. 2001) (“It is well established that punitive damages are part of the amount in
13   controversy in a civil action.”).
14            31.   Juries have awarded punitive damages ranging from $50,000 to $1,000,000
15   in discrimination, retaliation, and/or wrongful termination cases. See, e.g., Roby v.
16   McKesson Corp., 47 Cal. 4th 686 (2009) (holding that a punitive damage award of $1.9
17   million equal to the compensatory damage award was appropriate in retaliation case);
18   Burton v. Pulmocare Respiratory Services, 2016 WL 6962191 (San Bernardino Sup. Ct.)
19   (plaintiff’s verdict in pregnancy discrimination case, with jury award of $275,000 in pain
20   and suffering, $58,532 in past wages, $13,203 in future wages, and $50,000 in punitive
21   damages); Olivas-Dean v. Amer. Meizhou Dongpo Grp. Inc., et al., No. BC581538, 2017
22   WL 3531353 (Los Angeles Sup. Ct.) (plaintiff verdict totaling $350,000 based wrongful
23   termination claim, of which $250,000 was for punitive damages). These awards
24   demonstrate that, for diversity purposes, a very conservative alleged value of Plaintiff’s
25   alleged punitive damages equate to no less than $50,000.
26            32.   Emotional Distress Damages. In her Complaint, Plaintiff seeks to recover
27   damages for “emotional distress.” (Exhibit 1—Compl. ¶ 46; 16:16-17.)
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 1            33.   In Thompson v. Big Lots Stores, Inc., No. 1:16-cv-01464-LJO-JLT, 2017
 2   WL 590261, *4 (E.D. Cal. 2017), the court made clear that “[i]n determining the amount
 3   in controversy, a court may assess likely emotional distress damages by reference to
 4   damages awards in similar discrimination cases.” Applying that rule, the Thompson court
 5   found the defendant met its burden of showing that damages awards for emotional
 6   distress in analogous cases are often substantial, where the defendant pointed to a jury
 7   award of $122,000 in emotional distress damages to an employee who sued for
 8   pregnancy discrimination and wrongful termination. Id.
 9            34.   In fact, such damages may exceed $122,000. A review of jury verdicts in
10   California demonstrates as much. See, e.g., Silverman v. Stuart F. Cooper Inc., No.
11   BC467464, 2013 WL 5820140 (Los Angeles Sup. Ct.) (jury awarded $157,001 for
12   emotional distress damages in discrimination case); Vasquez v. Los Angeles Cnty. Metro.
13   Transp. Auth., No. BC484335, 2013 WL 7852947 (Los Angeles Sup. Ct.) (award of
14   $1,250,000 for pain and suffering to employee in discrimination action); Aboulafia v.
15   GACN Inc., No. BC469940, 2013 WL 8115991 (Los Angeles Sup. Ct.) (pain and
16   suffering award of $250,000, $250,000, $250,000, and $250,267 to four employees in
17   discrimination action); Ward v. Cadbury Schweppes Bottling Grp., No.
18   09CV03279(DMG), 2011 WL 7447633 (C.D. Cal) (jury award $5,600,000 in non-
19   economic damages in discrimination and retaliation case); Welch v. Ivy Hill Corp., No.
20   BC414667, 2011 WL 3293268 (Los Angeles Sup. Ct.) (award of $1,270,000 in pain and
21   suffering to employee in a discrimination action); Mathews v. Happy Valley Conference
22   Ctr., 43 Cal. App. 5th 236, 247 (Cal. Ct. App. 2019) (award of $275,000 in non-
23   economic damages for suit alleging retaliatory termination under several legal theories).
24   These awards demonstrate that, for diversity purposes, the alleged value of Plaintiff’s
25   alleged emotional distress damages exceeds the $75,000 amount in controversy
26   requirement.
27            35.   Attorney’s Fees. Plaintiff also seeks to recover attorney’s fees. (Exhibit
28   1—Compl. ¶¶ 58, 67, 74; 17:4) Attorney’s fees are properly considered in calculating the
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 1   amount-in-controversy for purposes of removal on grounds of diversity jurisdiction. Galt,
 2   142 F.3d at 1156 (claims for statutory attorney’s fees to be included in amount in
 3   controversy, regardless of whether such an award is discretionary or mandatory). The
 4   amount of attorney’s fees for purposes of amount in controversy calculations is the
 5   expected reasonable attorney’s fees through trial. Fritsch v. Swift Transp., 899 F. 3d 785,
 6   794 (9th Cir. 2018) (“a court must include future attorneys’ fees recoverable by statute or
 7   contract when assessing whether the amount-in-controversy requirement is met.”).
 8            36.   Concorde anticipates that the Parties will propound written discovery, that
 9   depositions will be taken in this case, and that Concorde will file a Motion for Summary
10   Judgment. (Rodine Dec. ¶ 6.) If Plaintiff prevails, she could be entitled to an award of
11   attorneys’ fees that alone are “more likely than not” to exceed $75,000, as is typical in
12   employment cases alleging discrimination and wrongful termination. Indeed, Courts have
13   awarded attorney’s fees in excess of $75,000 in cases involving discrimination. See, e.g.,
14   Crawford v. DIRECTV, Inc., No. BC417507, 2010 WL 5383296 (Los Angeles County
15   Sup. Ct.) (approving attorney’s fee award of $159,762.50 in alleged discrimination
16   action); Davis v. Robert Bosch Tool Corp., No. B185408, 2007 WL 2014301, *9 (Cal. Ct.
17   App. 2d Dist. July 13, 2007) (individual plaintiff sought $1.6 million in fees); Denenberg
18   v. Cal. Dep’t of Transp., No. GIC836582, 2006 WL 5305734 (San Diego County Sup. Ct.)
19   (attorney’s fees award of $490,000 for claims including discrimination case).
20            37.   In sum, Plaintiff’s aggregated recovery on her claims, including
21   compensatory damages such as lost wages and emotional distress damages, attorney’s
22   fees, and punitive damages, easily satisfies the $75,000 jurisdictional threshold. While
23   Concorde vehemently denies any liability as to Plaintiff’s claims, it is “more likely than
24   not” that the alleged amount in controversy in this action exceeds $75,000, exclusive of
25   interest and costs, as required by 28 U.S.C. § 1332(a).
26            38.   Because diversity of citizenship exists between Plaintiff and Concorde, and
27   the matter in controversy between the Parties exceeds $75,000, this Court has original
28   jurisdiction of the action pursuant to 28 U.S.C. section 1332(a)(1), and removal is proper.
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 1   V.       VENUE
 2            39.   Venue lies in the United States District Court for the Central District of
 3   California, pursuant to 28 U.S.C. §§ 84(c)(1), 1441, and 1446(a) because this action
 4   originally was brought in the Superior Court of the State of California, County of San
 5   Bernardino. (Exhibit 1—Compl.) Therefore, venue is proper because it is the “district
 6   and division embracing the place where such action is pending.” 28 U.S.C. § 1441(a).
 7   VI.      NOTICE OF REMOVAL TO PLAINTIFF AND THE SUPERIOR COURT
 8            40.   Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of
 9   Removal will be promptly served on Plaintiff and filed with the Clerk of the Superior
10   Court of the State of California, County of San Bernardino. A copy of the Proof of
11   Service regarding the Notice of Removal will be filed shortly after these papers are filed
12   and served.
13            41.   In compliance with 28 U.S.C. section 1446(a), true and correct copies of all
14   process, pleadings, and orders filed and/or served in this action are attached as Exhibit 1
15   and Exhibit 2. (Rodine Dec. ¶¶ 4-5.)
16   VII. PRAYER FOR REMOVAL
17            Wherefore, Concorde Career College prays that this civil action be removed from
18   the Superior Court of the State of California, County of San Bernardino to the United
19   States District Court for the Central District of California.
20
21   DATED: June 7, 2024                                SEYFARTH SHAW LLP
22
23                                                      By: /s/ Joshua A. Rodine
                                                           Joshua A. Rodine
24                                                         Barri Lyn Friedland
                                                           Attorneys for Defendant
25                                                         CONCORDE CAREER COLLEGE
26
27
28
                                                   12
                                    DEFENDANT’S NOTICE OF REMOVAL
     311475777v.2
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                                    #:13




                  EXHIBIT 1
          Case 5:24-cv-01202-KK-SP                 Document 1 Filed 06/07/24                    Page 14 of 56 Page ID
                                                            #:14




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 29095673
Notice of Service of Process                                                                            Date Processed: 05/13/2024

Primary Contact:           Lisa Henak
                           Concorde Career Colleges, Inc.
                           6701 W 64th St
                           Ste 200
                           Overland Park, KS 66202-4175

Electronic copy provided to:                   Jeremiah Hatcher

Entity:                                       Concorde Career Colleges, Inc.
                                              Entity ID Number 1560822
Entity Served:                                Concorde Career College
Title of Action:                              Kimberly Bankston-Bradshaw, an individual vs. Concorde Career College
Matter Name/ID:                               Kimberly Bankston-Bradshaw, an individual vs. Concorde Career College
                                              (15695004)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Discrimination
Court/Agency:                                 San Bernardino County Superior Court, CA
Case/Reference No:                            CIVSB2413668
Jurisdiction Served:                          California
Date Served on CSC:                           05/10/2024
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Timothy D. McGonigle Professional Corporation
                                              310-478-7110

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
          Case 5:24-cv-01202-KK-SP                        Document 1 Filed 06/07/24                             Page 15 of 56 Page ID
                                                                   #:15

                                                                                                                                                        SUM-100
                                                   SU M M O N S                                                              FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                           (CITACION JUDICIAL)
                                                                                                             EL CTRONICALLY FILED
                                                                                                             SU ERIOR COURT OF CALIFORN
NOTICE TO DEFENDANT:                                                                                         CO PNTY OF SAN BERNARDINO
                                                                                                             SA BERNARDINO DISTRICT
(AVISO AL DEMANDADO):
CONCORDE CAREER COLLEGE; and DOES 1 through 20, inclusive,                                                              5/8/2024
YOU ARE BEING SUED BY PLAINTIFF:                                                                             By: Michelle Gomez-Casillas, DEPU
(LO ESTA DEMANDANDO EL DEMANDANTE):
KIMBERLY BANKSTON-BRADSHAW, an individual,


                                     court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
IAVISOI Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versidn. Lea la informaci6n a
continuacidn.
  Tiene 30 D(AS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefdnica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y mes informacidn en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede mes cerca. Si no puede pagar la cuota de presentacidn, pida al secretario de la corte que
le dc un formulario de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podra
quitar su sueldo, dinero y bienes sin mes advertencia.
   Hay otros requisitos legales. Es recomendable que liame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en e/ sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o ponitsndose en contacto con la corte o el
colegio de abogados locales. A VISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquierrecuperaci6n de $10,000 d más de valorrecibida mediante un acuerdo o una concesidn de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is:                                        CASE NUMBER:
                                        San Bernardino County Superior Court (Númerode'cas°).                          CIVSB2413668
(El nombre y direccibn de la corte es):
 247 West Third Street San Bernardino, CA 92415-0210

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccion y e/ numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 Timothy D. McGonigle, Esq., 1880 Century Park East, Suite 516, Los An eles CA 9p06Z                      10478-7110
                                                                                                             ;
                                                                                   ~s/ f~ichelle Gomez-~asias  ll
DATE:                       5/8/2024                                Clerk, by                                            , Deputy
(Fecha)                                                             (Secretario)                                         (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
                                  1. 0      as an individual defendant.
                                 2. O       as the person sued under the fictitious name of (specify):

                                     3. [~] on behalf of (specify): Concorde Career College
                                          under:         CCP 416.10 (corporation)                        CCP 416.60 (minor)
                                                         CCP 416.20 (defunct corporation)        jjjjjj] CCP 416.70 (conservatee)
                                                         CCP 416.40 (association or partnership) O       CCP 416.90 (authorized person)
                                                         other (specify): private for-profit educational institution
                                     4. ~        by personal delivery on (date):             MAY
                                                                                                    I O Zo2tF                                            Page 1 of 1
Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure §§ 412.20, 465
  Judicial Council of California                                      SUMMONS                                                                    www.couRs.ca.gov
 SUM-100 [Rev. July 1, 2009]
                                                         ...
For your protetion and privacy, ptease"pre`ss the Ctear.                 _        ,                                                  ,-...    -...s.,        ..__...
This Form button after you haye printed the form.      i         print this form          Save this form                             I Clearthis form
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                                                                      ELECTRONICALLY FILED
                                                                      SUPERIOR COURT OF CALIFOR
                                                                      COUNTY OF SAN BERNARDINO
 1        Timothy D. McGonigle, Esq. (State Bar No. 115979)           SAN BERNARDINQ DISTRICT
          Timothy D. McGonigle Prof. Corp.                            4/19/2024 11:27 AM
 2        1880 Century Park East, Suite 516
          Los Angeles, CA 90067                                       By: Michelle Gomez-Casillas, DEF
 3        Telephone: (310) 478-7110
          Email: tim@mcgoniglelaw.net
 4
          Attorney for Plaintiff
 5        KIMBERLY BANKSTON-BRADSHAW

 6

 7
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                 FOR THE COUNTY OF SAN BERNARDINO
 9

10       KIMBERLY BANKSTON-BRADSHAW, an                  Case No.    CIVSB2413668
         individual,
11                                                       COMPLAINT FOR:
                                Plaintiff,
12                                                       (1) Gender and Racial Discrimination in
                                                             Violation of Gov. Code § 12940;
13                      v.                               (2) Failure to Prevent Discrimination and
                                                             Retaliation in Violation of Gov. Code §
          CONCORDE CAREER COLLEGE; and
14        DOES 1 through 20, inclusive,                      12940(k);
                                                         (3) Retaliation and Wrongful Termination
15                              Defendants.                  in Violation of Public Policy; and
                                                         (4) Violation of California Civil Code
16                                                           Section 43

17                                                       JURY TRIAL DEMANDED

18

19       ///

20       ///

21              Plaintiff Kimberly Bankston-Bradshaw ("Plaintiff' or "Dr. Bankston-Bradshaw") alleges

22       against Defendant Concorde Career College and Does 1-20 (collectively, "Defendants") as

23       follows:
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                                                THE PARTIES

  2     1. Plaintiff, Dr. Kimberly Bankston-Bradshaw ("Dr. Bradshaw") is a former employee of

  3        Defendant, Concorde Career College ("Concorde"), as alleged below.

  4     2. Defendant Concorde is a private for-profit educational institution with locations across the

  5        country. Plaintiff was employed at the Concorde's San Bernardino, California location at

  6        201 East Airport Drive, San Bernardino, California 92408.

  7     3. On January 11, 2024, Plaintiff filed a complaint against Concorde with the California Eqi

  8        Employment Opportunity Commission ("EEOC").

  9     4. On January 19, 2024, Plaintiff received a "right to sue" letter from the EEOC. Attached

10         hereto as Exhibit "A" is a true and correct copy of the EEOC letter.

11      5. Plaintiff is informed and believes and based thereupon alleges that at all relevant times,

12         Defendants Does 1 through 20 were under the direct supervision, employ, and control of

13         Concorde. In doing the acts alleged herein, Defendants Does 1 through 20 were acting

14         within the course and scope of their employment and agency with Concorde.

15      6. Plaintiff is ignorant of the true names and capacities of those sued herein as Does 1 throug

16         20, inclusive, and therefore sues by such fictitious names. Plaintiff will seek leave to amen

17         this complaint if necessary to allege their true names and capacities when ascertained.

18         Plaintiff is informed and believes and thereupon alleges that each of the fictitiously named

19         parties is responsible in some manner for the occurrences herein alleged, and that Plaintiff's

20         losses and damages as herein alleged were proximately caused by the acts and conduct of

21         such fictitiously named parties.

22      7. At all relevant times, each of the Defendants was the agent, servant, affiliate, and/or

23         employee of each and every one of the remaining Defendants, and the acts of such
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 1       Defendants were within the course and scope of said agency, affiliation, and/or

 2       employment.

 3    8. Defendants Concorde and Does 1 through 20 are collectively referred to herein as

 4       "Defendants."

 5                                   JURISDICTION AND VENUE

 6    9. The Court has both subject matter and personal jurisdiction in this case pursuant to

 7       California Code of Civil Procedure ("C.C.P.") section 410.10.

 8    10. Pursuant to California Code of Civil Procedure § 395(a), venue is proper in the above-

 9       entitled Court because Defendants do business in this County, work in this county and/or a

10       substantial part of the events or omissions giving rise to the claims occurred in this County.

11    11. The amount in controversy exceeds the sum of twenty-five thousand dollars ($25,000.00),

12       exclusive of interest and costs.

13                                        STATEMENT OF FACTS

14    12. On or about September 24, 2020, Dr. Bradshaw began working for Concorde as an

15       Academic Dean.

16    13. On or about October of 2022, Dr. Bradshaw was promoted to Campus President at

17       Concorde.

18    14. Shortly after Dr. Bradshaw's promotion, she was called into a meeting with Concorde's

19       Senior Leadership Team regarding Concorde's desire to terminate an underperforming

20       associate, Suzie Knight ("Knight"), a white female, who reported directly to Dr. Bradshaw,

21       a Black female.

22    15. Concorde informed Dr. Bradshaw that Knight's work performance was not satisfactory and

23       tasked her with firing Knight.



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    1    16. Dr. Bradshaw did not feel comfortable terminating Knight's employment at that time and

    2       wanted to see if she could help Knight improve herjob performance. Dr. Bradshaw

    3       informed Kevin Prehn ("Prehn"), Concorde's Senior Vice President of Operation of the

    4       same. Mr. Prehn was Dr. Bradshaw's direct supervisor and stated that Dr. Bradshaw could

    5       take some time to monitor Knight's performance, before making the final decision to

    6       terminate Knight's employment.

    7    17. On or about January of 2023, Concorde again brought up issues regarding Knight's

    8       substandard job performance to Dr. Bradshaw. Dr. Bradshaw continued to monitor Knight':

    9       performance. Prehn informed Dr. Bradshaw that she did not need to help Knight improve

10          her performance.

11       18. Dr. Bradshaw always made sure another person was present when she communicated with

12          Knight.

13       19. Around June of 2023, Dr. Bradshaw received outstanding work performance reviews from

14          Concorde. Dr. Bradshaw's review did make mention of Knight's substandard work

15          performance.

16       20. In the time period thereafter, Knight's performance did not improve. Dr. Bradshaw

17          informed Prehn that it was time to put Knight on a Performance Improvement Plan (PIP).

18       21. Dr. Bradshaw wrote up the PIP (with feedback from Prehn and Koula Foura ("Foura")),

19          submitted it to Human Resources ("HR") for review and approval, and, after approval by

20          HR, thereafter implemented the PIP.

21       22. Dr. Bradshaw and HR participated in weekly follow up meetings but there was no

22          improvement with respect to Knight's performance. Therefore, Dr. Bradshaw gave a final

23          summary, with the approval of HR, and recommended termination to Concorde's Vice
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    1           President of HR, Amanda Shevette ("Shevette"). Shevette reviewed, approved, and

    2           finalized the termination decision.

    3    23. On or about July 31, 2023, Knight was terminated by Dr. Bradshaw, at the direction of

    4           Concorde. At the time of termination, Dr. Bradshaw was physically present in a conference

    5           room with Knight and Kiersti Savidge ("Savidge"), an HR consultant, who was present by

    6           phone.

    7     24. On or about August 9, 2023, Dr. Bradshaw received an email from Shevette stating that

    8    she had received an email of concern with questions from Knight.

    9     25. More specifically, Knight sent an email to HR expressing that she felt discriminated

10       against by Dr. Bradshaw (on the basis of her race) in connection with her termination. Knight

11       also complained to Concorde that Dr. Bradshaw had a relative who also worked at Concorde

12       and contended that such an arrangement was against Concorde's policy. On information and

13       belief, Knight expressed her intention to bring a wrongful termination claim against Concorde

14       in connection with her termination.

15        26.     Shevette, HR at Concorde, immediately claimed that they were not aware that Dr.

16       Bradshaw's daughter, Ember Tate ("Tate"), worked at Concorde "because they had different

17       last names." On information and belief, at all times relevant hereto, Concorde was always

18       aware of Tate's employment by Concorde and familial relationship to Dr. Bradshaw. More

19       specifically, Michelle Bausley ("Bausley"), an individual responsible for HR duties at

20       Concorde's campus was aware of the relations before hiring Tate. The hiring manager for the

21       position that conducted interviews was also aware.

22       27. On further information and belief, the complaints by Knight regarding Dr. Bradshaw's

23              relative working at Concorde were addressed to a purported Code of Business Conduct and
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 1       Ethics Policy (the "Conduct Policy") at Concorde which became effective on or about

 2       February 1, 2021. The Policy also refers to a separate Conflict of Interest, Invention, and

 3       Confidentiality Policy (the "Conflict Policy") which became effective on or about August

 4       17, 2016. Notably, upon hire, Dr. Bradshaw was not provided with and/or did not sign the

 5       Conflict Policy.

 6    28. The Conduct Policy contains the following relevant provisions:

 7           ."I. COMMITMENT TO BUSINESS CONDUCT AND ETHICS...AII

 8               associates, officers and directors of the College will: Conduct themselves in an

 9               honest and ethical manner and act in the best interest of the College. A "conflict of

10               interest" occurs when a person's private interest interferes, or reasonably may be

11               perceived as interfering, in any way with the interest of the College, including its

12              affiliates. A conflict of interest can arise when an associate, officer or director takes

13              an action or has an interest that may make it difficult for him or her to perform his

14              or her work objectively and effectively. Conflicts of interest may also arise when an

15               associate, officer, or director (or his or her family members) receives improper

16               personal benefits as a result of the associate's, officer's, or director's position in the

17              College. Situations involving a conflict of interest may not always be obvious or

18               easy to resolve. Please refer to the Conflict of Interest, Invention, and

19              Confidentiality Policy for defining and reporting possible conflicts of interest,

20              OTM# 08-022....".

21           ."II. SPECIFIC COMPLIANCE STANDARDS...B. Conflicts of

22              Interest...Associates are required to avoid situations which give rise to an actual or ~

23              potential conflict of interest, or situations that may be perceived as a conflict of
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 1                  interest. An actual or potential conflict of interest may occur when associates are in

 2                  a position to influence a decision that may result in a personal gain for that person,

 3                  or for a relative of that person, as a result of Concorde's business dealings. An

 4                  actual or potential or perceived conflict of interest also may occur when Concorde

 5                  associates or their relatives own, operate or have a significant interest in any

 6                  business which competes or does business with Concorde, or if Concorde associates

 7                  accept concurrent employment with an organization in competition with Concorde

 8                  or against the interest of Concorde's customers or students. Associates may not

 9                  work on personal outside interests or activities related to another job on Concorde's

10                  time. Associates may not receive improper payments (bribes, kickbacks, or payoffs)

11                  to obtain or maintain business. Associates are not authorized to make any offer,

12                  payment promise or gift that is intended or appears to influence a business

13                  relationship. For further details reference the Conflict of Interest, Invention and

14                  Confidentiality Policy OTM# 08-022." Attached hereto as Exhibit "B" is a true

15                  correct copy of the Conduct Policy.

16       29. The Conflict Policy contains the following relevant provisions:

17              •"PURPOSE... An associate of Concorde Career Cqlleges, Inc. and its subsidiaries

18                  (the "Company") may not be involved in any conflict of interest situation and must

19                  disclose any activity, interest or circumstance which may be a conflict of

20                  interest...".

21              • "DEFINITIONS...A conflict of interest is....
22                        •   A circumstance in which a relative (defined as a person connected with
23                            another by blood or affinity, including marriage) or someone with whom


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  1                         the employee has a personal relationship is or becomes involved in a

 2                          business or activity, including employment, that may conflict with the

 3                          associate's duties or responsibilities or affect the associate's judgment in

 4                          making a decision affecting the Company or its affiliates.

 5                      •   A circumstance whenever related associates are permitted to hold positi

 6                          where one relative can influence the performance or the performance

 7                          appraisal of the other, e.g.: supervising a relative in the same department;

 8                          having access to confidential material that would benefit their relative;

 9                          being assigned to a position which might jeopardize proper internal contro

10                          procedures; or, in the case of the President and COO, Officers/Home

11                          Office Management or exempt personnel employing a relative anywhere ii

12                          the Company. In the case of Campus Presidents, employing a relative on

13                          their campus or campus for which a President has responsibility.

14                      •   Any personal activity that would interfere with the proper performance of

15                          the associate's duties or affect the associate's capacity to perform his/her

16                          functions or result in conflicting loyalties including engaging in any

17                          improper activities." Attached hereto as Exhibit "C" is a true and correct

18                          copy of the Conflict Policy.

19     30. Neither the Conduct Policy, nor the Conflict Policy prohibits relatives of current Concorde

20        employees from being hired. Further, given the definition of "conflict of interest" set forth

21        in the Conduct Policy and the Conflict Policy, there was no conflict of interest.

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  1     31. As set forth herein above, at all times relevant hereto, Concorde was aware of the

  2        relationship between Dr. Bradshaw and Tate. No improprieties existed in connection with

  3        the simultaneous employment of Dr. Bradshaw and Tate.

  4     32. Notably, other, white, employees of Concorde at the Grand Prairie, Garden Grove, as well

  5        as the home offices in Kansas, have relatives working at Concorde.

  6     33. On or about August 11, 2023, Shevette scheduled a phone meeting with Dr. Bradshaw.

  7        Jennifer Rojas ("Rojas"), an HR Representative flew down to be physically present at the

  8        meeting and Shevette attended the meeting via phone. During the meeting, Shevette asked

  9        Dr. Bradshaw if she was related to any other Concorde employees. Dr. Bradshaw replied

10         that she was. Dr. Bradshaw also advised and/or clarified that her daughter did not report to

11         her, that Dr. Bradshaw had no payroll approval/authority for her daughter, and that Dr.

12         Bradshaw was not involved in her daughter's interview, application, or review process.

13      34. Shevette accused Dr. Bradshaw of hiding information from Concorde.

14      35. At the conclusion of the meeting, Dr. Bradshaw was escorted out and told by Shevette that

15         she was being put on administrative leave for two days, which turned into a week or more.

16      36. When Dr. Bradshaw inquired with Concorde regarding when she could return to work,

17         Concorde informed her they were still investigating the complaints made by Knight and/or

18         the purported violation by Dr. Bradshaw of Concorde's Conflict of Interest policy.

19      37. In connection with the investigation, Dr. Bradshaw was told that she allegedly had decision

20         making abilities that could be tarnished by having her daughter work in the office which

21         was not true.

22      38. On or about August 21, 2023, Concorde terminated Dr. Bradshaw's employment, effective

23         immediately, for purported Code of Conduct violations.
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                                                 COMPLAINT
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 1      39. Concorde contended that Dr. Bradshaw was being terminated for allegedly violating the

 2         Conflict of Interest policy. That was a pretext. In fact, she was wrongfully terminated for

 3         discriminatory motive, and not because of any alleged violation of Concorde's policy, as

 4         evidenced by the fact that multiple white employees worked at the same Concorde location

 5         as their relatives.

 6 ~ 40. Tate was also terminated on the same day for allegedly not putting Dr. Bradshaw's name

 7         her employment application.

 8      41. A third employee, Concorde's Campus Administrator who does new hire onboarding for

 9         the campus was likewise terminated.

10      42. This third employee (name currently unknown) was the employee that did the onboarding

11         of Tate which Concorde called into question and who is also a Black woman.

12      43. On information and belief, Dr. Bankston-Bradshaw was replaced by Concorde by a white

13         male. On further information and belief, a Hispanic male, who met all required experience

14         and education requirements was next in line for the Campus President position at Concorde.

15 '       However, a white male was hired instead, and the job description was downgraded to fit his

16         lack of education and background.

17      44. On information and belief, Dr. Bankston-Bradshaw was placed on administrative leave and

18         thereafter wroiigfully terminated in retaliation for discriminatory motives, for failing to

19         terminate Knight when Concorde first directed her to, and in an attempt to scapegoat Dr.

20         Bradshaw for the subsequent complaints made by Knight (to avoid a lawsuit by Knight).

21      45. On further information and belief, the aforementioned conduct by Concorde amounted to

22         unlawful discrimination and wrongful termination due to Dr. Bradshaw's race (Black) and

23         gender (female).
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  1     46. As a direct result of Concorde's actions, Dr. Bradshaw has suffered damages, including, bi

 2         not limited to, reputational damage, emotional distress, including but not limited to fear,

 3         humiliation, and mental, or emotional or physical pain and anguish that has been and/or w;

 4         foreseeably be experienced by Dr. Bankston-Bradshaw, loss of wages and/or benefits, and

  5        other economic and non-economic damages according to proof.

  6                                     FIRST CAUSE OF ACTION

  7       (Gender and Racial Discrimination in Violation of Gov. Code § 12940(a) against A11

  8                                              Defendants)

 9      47. Plaintiff hereby realleges and incorporates by reference the allegations contained in

10         paragraphs 1 through 43, as though fully set forth herein.

11     48. At all times relevant, Plaintiff was an employee protected by Government Code §

12         12940(a), which prohibits discrimination in employment on the basis of gender and/or race.

13     49. At all times relevant, Defendants were "employers" within the meaning of California

14         Government Code § 12926, and as such, were prohibited from discriminating in regard to

15         terms, conditions, or privileges of employment.

16     50. As set forth herein above, Plaintiff was a person in a protected category.

17     51. Prior to hire, after hire, and through Plaintiff's employment, Plaintiff put Defendants on

18         notice of her race and family status and the status of the same.

19     52. Plaintiff was well-qualified for her position with Defendants.

20     53. Defendants discriminated against Plaintiff on the basis of her gender and her race.

21     54. The purported lack of disclosure about her daughter was a pretext so that other, less-

22         qualified white males could be promoted.

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    1     55. More specifically, Plaintiff was subjected to differing terms of her employment as a result

    2          of her gender and race. Ultimately, Plaintiff was subjected to adverse employment actions

    3          and terminated in connection with the discrimination she was subjected to.

    4     56. As a direct, foreseeable and proximate result of Defendants' behavior, Plaintiff has

    5          suffered, and continues to suffer, damages in an amount according to proof at trial.

    6     57. Plaintiff is informed and believes, and thereon alleges, that Defendants committed the acts

    7          described above deliberately, callously, maliciously, fraudulently and in an oppressive

    8          manner intended to injure her and that such improper motives amounted to malice and a

    9          conscious disregard of her rights as set forth in Govemment Code § 12940(a). An award c

10             punitive damages against Defendants is therefore warranted.

11        58. As a result of the discriminatory conduct of Defendants, as alleged herein, Plaintiff is

12             entitled to costs of suit, including reasonable attorneys' fees, in an amount according to

13             proof at trial.

14        59. Plaintiff further prays for a permanent injunction and declaratory relief preventing

15             Defendants from committing similar violations of FEHA in the future and declaring

16             Defendants' violation of FEHA In the instant matter.

17        60. Plaintiff was harmed by Defendant's actions.

18                                        SECOND CAUSE OF ACTION

19        (Failure to Prevent Discrimination and Retaliation in Violation of Gov. Code § 12940(k)

20                                            Against A11 Defendants)

21       61.     Plaintiff hereby realleges and incorporates by reference the allegations contained in

22        paragraphs 1 through 57 as though fully set forth herein.

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 1     62.   At all times relevant, Plaintiff was an employee of Defendants and protected by

 2     Government Code § 12940(k), which makes it unlawful to fail to take all reasonable steps

 3     necessary to prevent discrimination or harassment from occurring.

 4     63.   Defendants discriminated against Plaintiff by harassing and retaliating against her due to

 5     her race and/or gender, subjecting her to illegitimate discipline, failing to support her in

 6     connection with her job position, subjecting her to different employment responsibilities,

 7     placing her on unrequested leave, and ultimately actually terminating her.

 8     64.   Defendants were aware of these discriminatory actions and failed to talce all reasonable

 9     steps to prevent the discrimination. As set forth above, on many occasions, Plaintiff complainec

10     about the Defendants' conduct and/or the conduct she was being subject to.

11     65.   As a direct and proximate result of Defendants' conduct as set forth herein, Plaintiff has

12     suffered, and continues to suffer, damages in an amount according to proof at trial.

13     66.   Defendants, and each of them, intended to cause injury to Plaintiff or acted with willful

14     and conscious disregard of the rights of Plaintiff or others; subjected Plaintiff to cruel and

15     unusual hardship in conscious disregard of Plaintiff s rights; and/or intentionally

16     misrepresented, deceived, or concealed a material fact with intent to deprive Plaintiff of legal

17     rights or otherwise cause injury to Plaintiff. As such, Defendants acted with oppression, fraud,

18     or malice within the meaning of Civil Code § 3294(c), thereby entitling Plaintiff to punitive

19     damages in an amount sufficient to set an example of and punish each Defendant named herein.

20     67.   Plaintiff is further entitled to reasonable attorney's fees and costs of suit, in an amount

21     according to proof at trial.

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 1                                     THIRD CAUSE OF ACTION

 2         (Retaliation and Wrongful Termination in Violation of Public Policy Against All

 3                                               Defendants)

 4     68. Plaintiff hereby realleges and incorporates by reference the allegations contained in

 5        paragraphs 1 through 64, as though fully set forth herein.

 6     69. At all times relevant, Plaintiff was an employee of Defendants and protected by

 7        fundamental and well-established policies that benefit the public at large.

 8     70. At all times relevant, the following statute was in full force and effect and was binding on

 9        Defendants:

10                Cal. Gov. Code § 12940, et seq. embodies a fundamental state public policy and

11                prohibits harassment, discrimination, retaliation, failure to prevent discrimination,

12                and failure to engage in a timely, good faith interactive process based on a protected

13                class, including disability and/or medical condition.

14    71. As discussed above, Defendant's violated the law and well-established public policy by

15        discriminating against Plaintiff, retaliating against Plaintiff and ultimately terminating

16        Plaintiff's employment based in substantial part on her gender and/or race.

17    72. As a direct and proximate result of Defendants' conduct as set forth herein, Plaintiff has

18        suffered, and continues to suffer, damages in an amount according to proof at trial.

19    73. Defendants, and each of them, intended to cause injury to Plaintiff or acted with willful and

20        conscious disregard of the rights of Plaintiff or others; subjected Plaintiff to cruel and

21        unusual hardship in conscious disregard of Plaintiff's rights; and/or intentionally

22        misrepresented, deceived, or concealed a material fact with intent to deprive Plaintiff of

23        legal rights or otherwise cause injury to Plaintiff. As such, Defendants acted with



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  1        oppression, fraud, or malice within the meaning of Civil Code § 3294(c), thereby entitling

  2        Plaintiff to punitive damages in an amount sufficient to set an example of and punish each

  3        Defendant named herein.

  4 ~ 74. Plaintiff is further entitled to reasonable attorney's fees and costs of suit, in an amount

  5        according to proof at trial.

  6                                    FOURTH CAUSE OF ACTION

  7               (Violation of California Civil Code Section 43 Against A11 Defendants)

  8     75. Plaintiff hereby realleges and incorporates by reference the allegations contained in

  9        paragraphs 1 through 71 as though fully set forth herein.

10     76. California Civil Code Section 43, provides that "[b]esides the personal rights mentioned oi

11         recognized in the Government Code, every person has, subject to the qualifications and

12         restrictions provided by law, the right of protection from bodily restraint or harm, from

13         personal insult, from defamation, and from injury to his personal relations."

14     77. As alleged herein, and in violation of California Civil Code Section 43, Defendants failed t~

15         provide a workplace free from discrimination and pretextual conduct by failing to act with

16         respect to Plaintiff's concerns.

17     78. Defendants' refusal to take corrective action and provide protection from this offensive

18         behavior violates the law because Concorde Career College employees and supervisory

19         employees, were acting during the course and scope of employment when they

20         discriminated against, harassed, and/or subject Plaintiff to inappropriate conduct.

21     79. Plaintiff is informed and believes, and thereon alleges, that Defendants requirement that

22         Plaintiff work in a workplace where accusations about nondisclosure was violative of

23         Section 43 of the California Civil Code.
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 1    80. By the aforesaid acts and omissions of Defendants, and each of them, Plaintiff has been

 2       directly and legally caused to suffer actual damages including, but not limited to, loss of

 3       earnings, reliance damages, costs of suit and other pecuniary loss in an amount not

 4       presently ascertained, but to be proven at trial.

 5    81. As a further direct and legal result of the acts and conduct of Defendants, and each of them,

 6       as aforesaid, Plaintiff has been caused to and did suffer and continues to suffer severe

 7       physical, emotional and mental distress, anguish, humiliation, shame, embarrassment,

 8       fright, shock, pain, discomfort and anxiety. Plaintiff does not know at this time the exact

 9       duration or permanence of said injuries, but is informed and believes, and thereon alleges,

10       that some if not all of the injuries are reasonably certain to be permanent in character.

11    82. As a direct and proximate cause of the aforementioned acts of Defendants, Plaintiff was

12       injured as set forth above, and is entitled to damages.

13       WHEREFORE, Plaintiff prays for relief as follows:

14         1. For actual damages, including loss of past and future earnings, in an amount

15             according to proof at trial;

16         2. For general and special damages according to proof, including but not limited to

17             damages for physical pain, mental suffering, and/or emotional distress;

18         3. For consequential and incidental damages and expenses in an amount according to

19             proof at trial;

20         4. For exemplary damages in an amount according to proof as allowed under Civil Code

21             § 3294;

22         5. For all unpaid wages and expenses according to proof at trial;

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                                                COMPLAINT
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  1           6. For restitution and disgorgement of all unpaid wages and injunctive relief according

  2              to proof at trial;

  3          7. For costs incurred herein;

  4          8. For reasonable attorneys' fees and costs according to proof at trial;

  5          9. A temporary, preliminary, and permanent injunction enjoining Defendants' unfair ai

  6              illegal practices as described above;

  7          10.For statutory interest as provided by law;

  8          11.For double damages pursuant to Section 972 of the California Labor Code, and,

  9          12.For such other relief as the Court deems proper.

10      Dated: April 19, 2024                         Timothy D. McGonigle Professional Corporation

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                                                              Timothy D. McGonigle
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15                                    DEMAND FOR JURY TRIAL
16           Plaintiff hereby demands a jury trial.

17
        Dated: April 19, 2024                         Timothy D. McGonigle Professional Corporation
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                                                      By:
                                                              Timothy D. McGonigle
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                                        Exhibit A
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                                       COMPLAINT
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                        EEOC Number:                       480-2023-05554

                        Case Name:                         Dr. Kimberly Bradshaw v. Concorde Career Colleges

                        Filing Date:                       01/19/2024


                                          NOTICE TO COMPLAINANT AND RESPONDENT

          This is to advise you that the above-referenced complaint is being dual filed with the
          California Civil Rights Department (CRD) by the U.S. Equal Employment Opportunity
          Commission (EEOC). The complaint will be filed in accordance with California
          Government Code section 12960. This notice constitutes service pursuant to
          Government Code section 12962.

          The EEOC is responsible for the processing of this complaint. Please contact EEOC
          directly for any discussion of this complaint or the investigation.

                                           NOTICE TO COMPLAINANT OF RIGHT TO SUE

          This letter is also your Right to Sue notice. This Right to Sue Notice allows you to file
          a private lawsuit in State court. According to Government Code section 12965,
          subdivision (c), you may bring a civil action under the provisions of the Fair Employment
          and Housing Act against the person, employer, labor organization or employment
          agency named in the above-referenced complaint. The lawsuit may be filed in a State of
          California Superior Court. Government Code section 12965, subdivision (c), provides
          that such a civil action must be brought within one year from the date of this notice.
          Pursuant to Government Code section 12965, subdivision (e)(1), this one-year period
          will be tolled during the pendency of the EEOC's investigation of your complaint. You
          should consult an attorney to determine with accuracy the date by which a civil action
          must be filed. This right to file a civil action may be waived in the event a settlement
          agreement is signed.

          Be advised, CRD does not retain case records beyond three years after a complaint is
          filed.




                                                                                                              CRD-200-02 (09/2022)
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r1 A                                    Exhibit B
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                                       COMPLAINT
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CODE OF BUSINESS CONDUCT                                                                           CQ       AREER     COILEGES      ___

AND ETHICS
Department:             Human Resources
Policy Number:         08-110
Effective:             02/01/2021
Replaces:              80.C10


    POLICY

I. COMMITMENT TO BUSINESS CONDUCT AND ETHICS

Concorde Career Colleges, Inc. ("Concorde") is committed to ensure that we, individually and as an organization perform and
conduct our business with professional integrity and honesty. Concorde adheres to the NASFAA Code of Conduct.

As an associate of Concorde, you have certain responsibilities to the College, your fellow associates, and the students we serve. This
Code summarizes the standards that must guide our actions. As a guiding principle at the College, we are committed to act in the
highest ethical manner and respect the rights and dignity of others. The College will conduct its operations with honesty, fairness,
integrity, and trustworthiness. This Code contains useful guidelines for daily business conduct which are intended to assist
associates, officers, and directors of the College in making decisions on behalf of the College. No guidelines can be all inclusive,
however, and responsibility for proper conduct rests with each associate, officer, and director. There is no substitute for personal
integrity and good judgment. An associate, officer or director faced with a difficult decision should consider whether he or she
would feel comfortable if the decision became public knowledge. If the answer is in the affirmative, the decision is probably correct.

While it is not possible to describe every situation which may violate this Code, the following guidelines are deemed to be
particularly important and are examples of matters covered by this Code. The Code is intended to memorialize our ethical standards
and values and to provide a method to communicate them to our associates, officers, and directors.

All associates, officers and directors of the College will:

     Conduct themselves in an honest and ethical manner and act in the best interest of the College. A "conflict of interest" occurs
     when a person's private interest interferes, or reasonably may be perceived as interfering, in any way with the interest of the
     College, including its affiliates. A conflict of interest can arise when an associate, officer or director takes an action or has an
     interest that may make it difficult for him or her to perform his or her work objectively and effectively. Conflicts of interest may
     also arise when an associate, officer, or director (or his or her family members) receives improper personal benefits as a result
     ofthe associate's, officer's, or director's position in the College. Situations involving a conflict of interest may not always be
     obvious or easy to resolve. Please refer to the Conflict of Interest, Invention, and Confidentiality Policy for defining and
     reporting possible conflicts of interest, OTM# 08-022.

•    Exercise the basic virtues of respect and dignity in all work relationships. Recognize and avoid behaviors that others may find
     offensive, including the manner in which we speak and relate to one another and the materials we bring into the workplace,
     both printed and electronically.

•    Respect the right and obligation of every associate, officer, and director to resolve concerns relating to ethics questions in the
     course of our duties without retribution and retaliation. Give all associates, officers, and directors the same opportunity to have
     their questions, issues and situations fairly considered while understanding that being treated fairly does not always mean being
     treated the same.

•    Compete fairly, without collusion or collaboration (whether express or implied, formal or informal, oral or written) with
     competitors to divide markets or territories, set prices or terms or conditions of sale, restrict production, allocate customers or
     otherwise restrain competition or to boycott any individual or entity. Please refer to Concorde Career Colleges, Inc. Antitrust
     Policy HR OTM# 08-019, for guidelines related to the College commitment to 100% compliance with Antitrust Laws.




08-110 CODE OF BUSINESS CONDUCTAND ETHICS                                                                                     PAGE 1 OF S
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•   Keep business records that are accurate, true, and complete and include all payments and receipts. The College shall provide
    full, fair, accurate, timely, and understandable disclosure in reports and documents that the College files with regulatory
    agencies and in other public filings and communications made by the College.

•   Avoid taking for themselves business opportunities that arise through the use of corporate property, information, or position.
    Refrain from using corporate property, information or position for personal gain and competing in any way with the College.
    Competing with the College may involve engaging in the same line of business as the College or any situation where you take
    away from the College opportunities for sales or purchases of property, products, services, or interests.

    Endeavor to deal fairly with customers, suppliers, competitors, the public and one another at all times and in accordance with
    ethical business practices. Refrain from taking unfair advantage of anyone through manipulation, concealment, abuse of
    privileged information, misrepresentation of material facts or any other unfair dealing practice. Make no improper payment in
    any form directly or indirectly to or for anyone for the purpose of obtaining or retaining business or obtaining any other
    favorable action. Exercise good judgment in the exchange of business courtesies, meals, and entertainment by avoiding
    activities that could create even the appearance that decisions could be compromised. Offer full disclosure and withdraw from
    discussions and decisions when our business judgment appears to be in conflict with a personal interest.

•   Comply with The Foreign Corrupt Practices Act, which prohibits the College and its associates and agents from offering or giving
    money or any other item of value to win or retain business or to influence any act or decision of any governmental official,
    political party, candidate for political office or official of a public international organization. This prohibition also extends to
    payments to a sales representative or agent if there is reason to believe that the payment will be used indirectly for a prohibited
    payment to foreign officials.

•   Comply with College policy and all applicable laws and regulations applicable to the College's operations. These include laws
    covering bribery and kickbacks, copyrights, trademarks and trade secrets, information privacy, insider trading, illegal political
    contributions, antitrust prohibitions, foreign corrupt practices, offering or receiving gratuities, environmental hazards,
    employment discrimination or harassment, occupational health and safety, false or misleading financial information or misuse
    of corporate assets.

•   Use reasonable efforts to protect the College's assets against loss, theft or other misuse and ensure their efficient use. Trust
    one another to use sound judgment in our use of the College's business and information systems. Respect the property of the
    College, including its intellectual property and confidential information. Maintain confidential proprietary information
    generated and gathered in our business in strict confidence, except when disclosure is authorized by the College or required by
    law.

•   You are expected to understand and comply with all laws, rules and regulations that apply to your job position. If any doubt
    exists about whether a course of action is lawful, you should seek advice from your supervisor, the Campus President, Regional
    Vice President Operations, or the Vice President of Human Resources. This Code is not meant to be a complete statement of
    the College's corporate policies nor of the proper ethical course of conduct. Any waivers (including any implicit waivers) of the
    provisions in this Code for executive officers or directors may be made only by the Board. Amendments to this Code must be
    approved by the Board. All associates, officers and directors are expected to comply with all the provisions of this Code. The
    Code will be strictly enforced, and violations will be dealt with immediately, including subjecting persons to corrective and/or
    disciplinary action. We will not tolerate any kind of retaliation for reports or complaints regarding misconduct that were made
    in good faith.

•   If you are unsure which specific rules, policies or regulations apply in a particular situation, or if you have concerns regarding
    compliance with policies, rules, or law, you should contact your manager, the Campus President, the Regional Vice President of
    Operations, or the Vice President of Human Resources




08-110 CODE OF BUSINESS CONDUCT AND ETHICS                                                                                  PAGE 2 OF 5
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II.'SPECIFIC COMPLIANCE STANDARDS

Each Associate is expected to be familiar with, and follow, the rules, regulations, policies, and procedures that relate to theirjob. A
few of the general rules and regulations are set forth below. Others are addressed in Concorde's policies and procedures posted on
our intranet in the Operations Training Manual ("OTM"). Policies and procedures must be followed by all Concorde associates.
Violations of these policies and procedures, or of any legal and regulatory requirements applicable to your job, may result in
disciplinary action up to and including termination.

A. Proprietary/Confidential Information

Concorde requires that all associates treat confidential information and College secrets with the utmost care. Violations of
Concorde's policy and federal, state or local law can occur if: (1) Concorde's confidential or proprietary information is disclosed to
third parties; or (2) confidential information about our customers, associates, students/prospective students, or others with which
Concorde has a relationship are disclosed to third parties or to persons within Concorde who have no "need to know." If you are
unsure whether information is confidential, do not disclose it either to third parties or to others associated with Concorde who have
no need to know. Forfurther details, reference the Proprietary Information Policy, OTM# 08-008.

B.Conflicts of Interest

Associates are required to avoid situations which give rise to an actual or potential conflict of interest, or situations that may be
perceived as a conflict of interest. An actual or potential conflict of interest may occur when associates are in a position to influence
a decision that may result in a personal gain for that person, or for a relative of that person, as a result of Concorde's business
dealings. An actual or potential or perceived conflict of interest also may occur when Concorde associates or their relatives own,
operate or have a significant interest in any business which competes or does business with Concorde, or if Concorde associates
accept concurrent employment with an organization in competition with Concorde or against the interest of Concorde's customers
or students. Associates may not work on personal outside interests or activities related to another job on Concorde's time.
Associates may not receive improper payments (bribes, kickbacks, or payoffs) to obtain or maintain business. Associates are not
authorized to make any offer, payment promise or gift that is intended or appears to influence a business relationship. Forfurther
details reference the Conflict of /nterest, Invention and Confidentiality Policy OTM# 08-022.

C. Gifts

Concorde associates are not permitted to accept gifts and entertainment of any kind from vendors or lenders. Examples include but
are not limited to; cookies, donuts, flowers, movie tickets, pens/pencils, or other desk items. Concorde associates are permitted to
accept gifts and entertainment of nominal value not to exceed $10 from sources other than lenders and vendors. Concorde
associates may accept meals from lenders and vendors while at pre-approved business functions such as National Association of
Student Financial Aid Administrators (NASFAA) conventions or state association meetings as long as Concorde associates are not the
only participants present and the other meeting attendees participate in the meal. Associates are prohibited from accepting any
item or service that might reasonably be deemed to affect their business judgment. Campus and Home Office officials are permitted
to accept paid luncheons or dinners if they are reasonable and consistent with accepted business practice and are not from lenders.

D.Copyrights and Trademarks

Copyright laws can be violated by copying course materials or other published documents outside of the standard approved
curriculum. Copyright laws can also be violated by installing computer software on multiple systems or installing unlicensed
software. Software must be approved by the Director of Information Technology. It is a violation of the trademark laws to use a
trademark or service mark that is not owned by Concorde in a manner likely to cause confusion. To avoid violations, it is important
to notify the President of Concorde before adopting new slogans, names, or symbols. Forfurther details, reference the E-mail, The
lnternet and Other Electronic and Telephonic Communications Policy, OTM# 08-011.

E.Employment Practices

           1. Discrimination or Harassment

           Concorde associates are responsible for compliance with the equal employment opportunity laws. It is unlawful and
           against policy to: (a) fail to hire or promote, or unjustifiably treat differently, an individual because of that individual's race,
           color, sex, national origin, religion, age, veteran status or disability status; (b) fail to cooperate in a truthful and forthcoming
           manner in connection with the investigation of any complaints which arise regarding an individual's employment with
           Concorde; or (c) retaliate in any manner against any individual who makes a complaint concerning equal employment
           opportunity. Concorde will not tolerate harassment of our associates or students/prospective students by anyone,

08-110 CODE OF f3U5INESS CONDUCTAND ETHICS                                                                                         PAGE 3 OF 5
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           including any manager, co-worker, or third party. Harassment consists of unwelcome conduct, whether verbal, physical or
           visual, that is based on a person's•race, color, national origin, religion, age, sex, veteran status, or disability. Forfurther
           detai/s, reference the No Discrimination or Harassment Policy, OTM# 08-014.

           2. Substance Use, Possession and Abuse

           Illegal drug use, being under the influence of or in possession of illegal drugs or alcohol during working hours is against
            Concorde policy. This includes drinking outside of the office during work hours. Excessive drinking outside of work hours or
           use of illegal drugs that impairs an associate's ability to perform their duties may be considered cause for termination. For
           further details, reference the Anti-Drug and Alcohol Abuse Policy, OTM# 08-003.
F.Environmental

Associates shall use appropriate procedures and equipment in storing, using, and disposing of materials, such as needles, syringes,
medical supplies, petrochemicals, refrigerants, and cleaners that may have an adverse environmental or health impact if not
properly handled.

G.Financial Reporting

Concorde's books and records must accurately reflect all measurable transactions affecting the College. Associates shall not make
false or artificial entries in Concorde's books and records for any reason. Failure to accurately report financial information or other
information that materially impacts financial statements is a violation of our policy. Concorde has a responsibility to communicate
effectively, efficiently, and accurately with its owners and other constituencies so that they have an accurate understanding of
Concorde's financial condition and results of operations. Concorde is committed to full, fair, accurate, timely and understandable
disclosure in its periodic reports filed with owners, lenders, and regulatory agencies. Concorde's books, records, invoices, accounts,
and financial statements must be maintained in reasonable detail, must appropriately reflect Concorde's transactions, and must
conform both to applicable legal requirements and to Concorde's system of internal controls.

H.Involvement with Governmental Entities and the Political Process

It is a violation of Concorde policy to: (1) bribe a public official or receive a bribe from a public official; (2) intentionally submit
incorrect, misleading or fraudulent information, in written or oral form, to a public official or a government agency; or (3) engage in
activities designed to influence the legislative process, or to influence official action of public officials, or government associates or
representatives, unless done in accordance with applicable laws governing lobbying. When dealing with public officials and
government agencies, you are expected to: (1) act in an honest and ethical manner; and (2) not use your position or association with
Concorde to gain any unfair favor, advantage or benefit for either Concorde or yourself personally.

I.Protection and Proper Use of College Assets

Associates must protect and properly use the College's assets. Associates are required to protect the College's assets from loss,
damage, misuse, theft, or sabotage. It is against policy to convert an opportunity available to Concorde for personal use or use by
another party. It is against policy to use the College phone to make personal long-distance phone calls or to use Concorde assets on
anotherjob. Misappropriation, mismanagement, or theft of money or other assets from the College are prohibited. Forfurther
details, reference the E-mail, The lnternet and Other Electronic and Telephonic Communications Policy, OTM# 08-011.

J.Safety

It is against policy to: (1) violate federal, state, or local safety regulations; (2) fail to abide by safe working rules and policies; or (3)
fail to report unsafe acts or conditions. It is a violation of policy to be in possession of firearms, knives, or weapons of any type on
College premises. Forfurther details, reference the Safety Policy, OTM# 08-013 and Workplace Violence Policy OTM# 08-018.

K.Sales and Marketing

Associates shall not engage in illegal or unethical conduct to make a sale or otherwise do business. All information provided about
Concorde to third parties, including students/prospective students and customers, must be clear, accurate and truthful. Dishonest
and unethical conduct, including untrue statements about our competitors or their programs, is inappropriate and a violation of our
policies.




08-110 CODE OF BUSINESS CONDUCT AND ETHICS                                                                                           PAGE 4 OF 5
         Case 5:24-cv-01202-KK-SP                  Document 1 Filed 06/07/24                     Page 40 of 56 Page ID
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L.'Student/Prospective Student Relations

Associates shall treat all Concorde students and prospective students with respect. Associates are prohibited from being involved
personally with a student beyond the boundaries of a normal, respectful educator-student relationship. Forfurther details,
reference the Fraternization with Students Policy, OTM# 08-002.

M. Other

The following are also violations of Concorde policy and will result in corrective action up to and including termination of
employment: (1) to falsify any College records or to deliberately alter records to distort factual conditions; (2) to have knowledge of
an infraction of Concorde policy and not report the violation to the appropriate manager; (3) to have a conviction of a job related
crime, that adversely affects the security, operation or reputation of the College; (4) sleeping during work hours; (5) walking off the
job; (6) leaving a classroom unattended; (7) engaging in activities that damage the reputation of Concorde, its students/prospective
students or associates; and (8) any other conduct that in the opinion of the College fails to promote the best interests of the College
or the students/prospective students we serve.

N. Ethics Reporting

Financial Reporting Issues

If concerns arise regarding financial reporting issues, those concerns may be directed to the President, the Chief Financial Officer,
Vice President of Human Resources or the Audit Committee of the Company's Board of Directors by mailing an anonymous letter to
Concorde Career Colleges, Inc., 5800 Foxridge Drive, Suite 500, Mission, KS 66202.

Financial Aid Administration Compliance

If you have concerns regarding the administration of Federal Student Aid Programs, possible violations of institutional or
programmatic accreditation standards; or violations of state regulatory requirements you can report those concerns to Concorde's
Compliance Department directly by contacting the Vice President of Regulatory Compliance and Quality Assurance or the Audit
Committee ofthe Company's Board of Directors.

O. Anonymous Reporting

Associates may choose to report violations anonymously via a confidential reporting line. This anonymous and confidential
reporting line run by Lighthouse Services is not affiliated with Concorde. It is accessible 24 hours a day, seven days per week. Your
confidential report will instantly be forwarded to the individuals our organization has deemed appropriate to review and respond to
your concerns. Our organization is using this system to allow you to submit concerns and complaints regarding workplace financial
concerns such as accounting discrepancies, fraud, accounting misrepresentations, auditing matters, accounting omissions, other
financially related concerns or conduct or policy violations that you are not comfortable raising via our current Associate Resolution
Procedures.

Anonymous reporting can be completed:

     •     Toll-Free Telephone--855-400-6004 (English speaking USA) or 800-216-1288 (Spanish speaking North America)
     •     Website--http://www.lighthouse-services.com/concorde
     •     E-mail--reports@lighthouse-services.com (must include company name with report)
     •     Fax: 215-689-3885




e_48596179e66896098_2693478

                                                                                                  03/22/2022




Signature                                                                                          Date




08-110 CODE OF BUSINESS CONDUCTAND ETHICS                                                                                   PAGE 5 OF 5
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                                         #:41




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                                      Exhibit C
                                        20
                                     COMPLAINT
         Case 5:24-cv-01202-KK-SP                    Document 1 Filed 06/07/24                      Page 42 of 56 Page ID
                                                              #:42


C®NFLICT OF INTEREST, INVENTION,
AND C®NFIDENTI/aLITY P®LICY                                                                         CQ       .'4REER   COLLEGES



    Department:           Human Resources
Policy Number:            08-022
Effective:                08/17/2016
Replaces:                 80.C22


    PURPOSE

An associate of Concorde Career Colleges, Inc. and its subsidiaries (the "Company") may not be involved in any conflict of interest
situation and must disclose any activity, interest or circumstance which may be a conflict of interest. Inventions and ideas created by
associates during their employment with the Company are the property of the Company. Business and technical information
relating to the Company or its affiliates also is the property of the Company and must be held in strict confidence by associates.




    POLICY

Associates may not be involved in any conflict of interest situation as defined below without the written consent of the President
and C00. ANY ACTIVITY OR INTEREST WHICH IS POTENTIALLY OR POSSIBLY OR MAY BE PERCEIVED A CONFLICT MUST BE DISCLOSED
AS IF IT WERE A CONFLICT. Each situation will then be reviewed on a case-by-case basis as provided herein.

                      .
    DEFINITIONS

A conflict of interest is:

•     Any involvement in any outside activity, business or employment which may conceivably conflict with the associate's duties or
      responsibilities or which is not compatible with the best interests of the Company. This includes an associate's involvement,
      whether for remuneration or not, in any entity that is a present or prospective competitor, customer or supplier of the
      Company or its affiliates.

•     A circumstance in which a relative (defined as a person connected with another by blood or affinity, including marriage) or
      someone with whom the employee has a personal relationship is or becomes involved in a business or activity, including
      employment, that may conflict with the associate's duties or responsibilities or affect the associate's judgment in making a
      decision affecting the Company or itsaffiliates.

•     A circumstance whenever related associates are permitted to hold positions where one relative can influence the performance
      or the performance appraisal of the other, e.g.: supervising a relative in the same department; having access to confidential
      material that would benefit their relative; being assigned to a position which might jeopardize proper internal control
      procedures; or, in the case of the President and COO, Officers/Home Office Management or exempt personnel employing a
      relative anywhere in the Company. In the case of Campus Presidents, employing a relative on their campus or campus for
      which a President has responsibility.

•     Any personal activity that would interfere with the proper performance of the associate's duties or affect the associate's
      capacity to perform his/her functions or result in conflicting loyalties including engaging in any improper activities.




08-022CONFLICTOFINTEREST                                                                                                       PAGE2OF2
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EXCEPTION
An associate may hold investments in publicly owned companies, including banks and trust companies, whose securities are listed
on national securities exchanges or are otherwise generally traded and available in the open market. However, if any of these
companies is a customer, supplier or competitor of the Company or its affiliates, neither the associate nor his/her immediate family
or close associates may hold more than one percent (1%) of the outstanding stock of that company. Any managerial associate (and
any associate who has the authority to bind the Company) shall disclose any holdings of stock in or other business interests with its
customers, suppliers orcompetitors.
Adjunct Faculty teaching General Education courses are exempt from compliance to the Conflict of Interest Policy only as it pertains
to teaching at more than one Educationalfacility.



INVENTIONS/PRODUCT CREATION
Should a Company associate invent or contribute toward the invention of a machine, product, method of manufacture or other
designs, ideas, or make other discoveries or improvements which relate to the business of the Company, including preparation of
computer software, and writing of curriculum either during or outside normal business hours, the associate will be required to make
a written disclosure and to assign the invention to the Company. Pursuant to the associate's request, the Company will make an
evaluation ofthe invention and at the Company's sole discretion may reassign the invention to the associate.




CONFIDENTIALITY
Business and technical information that is not generally available and that belongs to, is developed by, is licensed to or is in the
possession of the Company or its affiliates is to be retained in confidence. Each associate must keep such information confidential
during employment and after termination. Any questions about an associate's obligation of confidentiality or what constitutes
"Confidential Information and Trade Secrets" as defined in the Policy and Agreement should be directed to the President and COO or
Vice President of Human Resources.




PROCEDURES
Each associate is required to execute and sign this Conflict of Interest, Invention and Confidentiality Agreement. This Agreement
requires the associate to disclose all existing, potential and possible conflicts of interest, disclose and assign inventions, as well as
agree to hold business and technical information confidential. If there is doubt as to whether an interest or activity would be a
conflict of interest, it should be disclosed as if it were unquestionably a conflict. If no such interests or activities exist, the associate
should write the word "NONE" in the space provided.
Furthermore, the managerial associate (and any associate who has the authority to bind the Company) must state affirmatively or
negatively whether he or she does or does not own any stock in or has a business relationship with any of its customers, suppliers or
competitors.

Any disclosure of a potential or possible conflict shall be considered on a case-by-case basis to determine whether such activity is a
conflict and whether some accommodation or remedy, including in certain circumstances, a change in employment status is
appropriate. Such situations must be reviewed with the Vice President of Human Resources of Concorde Career Colleges, Inc. Each
associate must complete and sign the Invention, Conflict of Interest and Confidentiality Agreement at the time of his/her hire.
Thereafter, each salaried associate and each non-exempt associate with access to confidential information or trade secrets, i.e. part-
time associates, shall complete and sign a new Agreement at the time of his/her next performance review.

The original, signed Conflict of Interest, Invention and Confidentiality Agreement shall be kept in the associate's personnel file with a
copy to the associate.




08-022 CONFLIC`1'OF INTEREST                                                                                                        PAGE 1OF 2
             Case 5:24-cv-01202-KK-SP                                 Document 1 Filed 06/07/24                                  Page 44 of 56 Page ID
                                                                               #:44

                                                                                                                                                                           CM-010
 ATTORNEY OR PARTY WITHOUT A'rrORNEY (Name, State Barnumber, and address):
 Timothy D. McGonigle, Esq. (State Bar No. 115979)                                                                                       FOR COURT USE ONLY

 1880 Century Park East, Suite 516, Los Angeles, CA 90067
                                                                                                                           ELECTRONICALLY FILED
                                                                                                                           SUPERIOR COURT OF CALIFORNI
 TELEPHONENO.: 310-478-7100                                 FAX           888-266-9410
                                                                                                                           COUNTY OF SAN BERNARDINO
 EMAiLADDRESS: tim@mcgoniglelaw.net
                                                                                                                           SAN BERNARDINO DISTRICT
 ATTORNEY FOR (Name): Plaintiff Kimberly Bankston-Bradshaw
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF                              San Bernardino                                       4/19/2024 11:27 AM
     STREETADDRESS: 247 West Third Street
 MAILINGADDRESS: 247 West Third Street
                                                                                                                           By: Michelle Gomez-Casillas, DEPU Y
 CITYANDZIPCODE: San Bernardino, 92415
       BRANCH NAME: San Bernardino Dl8trlct - Civil DIVISIOn

 CASE NAME: Kimberly Bankston-Bradshaw v. Concorde Career
                                                                                             College

          CIVIL CASE COVER SHEET                             l           Complex Case Designation                       CASENUMBER:

 ~         Unlimited                 0      Limited                         Counter             0      Joinder                         CIVSB2413668
           (Amount                          (Amount
           demanded                                          l Filed with first appearance by defendant                 JUDGE:
                                            demanded is
           exceeds $35,000)                 $35,000 or less)       (Cal. Rules of Court, rule 3.402)                    DEPT.:


          Check one box below for the case type that best describes this case:
       Auto Tort                                                 Contract                                          Provisionally Complex Civil Litigation
       [jjjjjj] Auto (22)                                        [jjj]    Breach of contract/warranty (06)         (Cal. Rules of Court, rules 3.400-3.403)
                Uninsured motorist (46)                                   Rule 3.740 collections (09)              0        Antitrust/Trade regulation (03)
       Other PI/PD/WD (Personal Injury/Property                           Other collections (09)                   ]jjjjjjj Construction defect (10)
       Damage/Wrongful Death) Tort                                                                                 0       Mass tort (40)
                                                                 0        Insurance coverage (18)
               Asbestos (04)                                                                                       Ej      Securities litigation (28)
                                                                          Other contract (37)
       ]jjjjjjj Product liability (24)                                                                                   Environmental/Toxic tort (30)
                                                                 Real Property                                     ]
      ~        Medical malpractice (45)                                                                            Ej    Insurance coverage claims arising from the
                                                                 Ej]      Eminent domain/Inverse
      ~        Other PI/PD/WD (23)                                        condemnation (14)                              above listed provisionally complex case
                                                                                                                         types (41)
       Non-PI/PD/WD (Other) Tort                                 Ej       Wrongful eviction (33)                   Enforcement of Judgment
               Business tort/unfair business practice (07) 0    Other real property (26)
                                                                                                                   0     Enforcement of judgment (20)
               Civil rights (08)                           Unlawful Detainer
                                                                                                                   Miscellaneous Civil Complaint
               Defamation (13)                                   0        Commercial (31)
                                                                                                                   0       RICO (27)
           jjj Fraud (16)                                        0        Residential (32)
                                                                                                                   0       Other complaint (not specified above) (42)
      0        Intellectua[ property (19)                        [jjjj] Drugs (38)
                                                                                                                   Miscellaneous Civil Petition
      0       Professional negligence (25)                       Judicial Review
                                                                 0        Asset forfeiture (05)                    0       Partnership and corporate governance (21)
      [jjjjj] Other non-PI/PD/WD tort (35)
      Employment                                                 0        Petition re: arbitration award (11)      0       Other petition (not specified above) (43)
              Wrongful termination (36)                          0        Writ of mandate (02)
      Ej      Other employment (15)                              0        Other judicial review (39)
2.  This case U       is    U       is not  complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
   a. Ej Large number of separately represented parties          d. Ej Large number of witnesses
   b. Ej Extensive motion practice raising difficult or novel    e.         Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
                                                                            court
   c. 0      Substantial amount of documentary evidence
                                                                 f. Ej Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. x~ monetary b. ®            nonmonetary; declaratory or injunctive relief c. X~ punitive
4. Number of causes of action (specify): 4
5. This case 0        is      jjjjj is not  a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date:April 18, 2024
               Timothy D. McGonigle, Esg.                                                      '~      ~ t 6i>/ls                .


                                  t YPE OR PRINT NAME)                                                           (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                             NOTICE
 •  Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all other parties to
   the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.              Page 1 or2
F-orm Adopted for Mandatory Use                                                                                             Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
Judicial Council of Californla                                       CIVIL CASE COVER SHEET                                         Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev. January 1, 2024]                                                                                                                                       www.courts.ca.gov
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                                                                #:45

                       .        INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                           CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
  Auto Tort                                    Contract                                             Provisionally Complex Civil Litigation (Cal.
       Auto 22 —Personal In'u /Pro ert             Breach of ContractlWarranty (06)                 Rules of Court Rules 3.400-3.403)
             ()
             Damage/Wrongful    1 ry
                                  Deathp y            Breach of Rental/Lease                              Antitrust/Trade Regulation (03)
          Uninsured Motorist (46) (if the                   Contract (not unlawful detainer               Construction Defect (10)
         case involves an uninsured                             or wrongful eviction)                     Claims Involving Mass Tort (40)
        motorist claim subject
                           sub'ect to                 Contract/Warranty Breach—Seller                     Securities Litigation (28)
         arbitration, check this item                                ( not fraud  orne  ggli ence)        Environmental/Toxic Tort (30)
        instead ofAuto)                               Negligent Breach of Contract/                       Insurance Coverage Claims
  Other PI/PDIWD (Personal In'u                            Warranty
                                     1 rY/                                                                       (arising from provisionally complex
  Property Dama e/Wron ful Death) Tort                Other Breach of Contract/Warranty                          case type listed above) (41)
     pAsbestos
           y        g
                  (04)         g                  Collections    e.
                                                                ( g    money    owed,   open
                                                                                         p          Enforcement of Judgment
                     Property Damage                  book   accounts)t )(09 )                         Enforcement of Judgment (20)
         Asbestos Personal Injury/                    Collection Case—Seller Plaintiff                      Abstract of Judgment (Out of County)
               Wrongful Death                         Other Promissory Note/Collections Case           Confession of Judgment (non-domestic
      Product Liability (not asbestos or          Insurance    Coverage     (not provisionally               relations)
          toxic%nvironmental) (24)                    complex) (18)
                                                                                                       Sister State Judgment
      Medical Malpractice (45)                        Auto Subrogation                                 Administrative Agency Award
           Medical Malpractice—                       Other Coverage                                        (not unpaid taxes)
                Physicians & Surgeons             Other  Contract   (37)                                Petition/Certification of Entry of
      Other Professional Health Care                  Contractual Fraud                                      Judgment on Unpaid Taxes
              Malpractice                             Other Contract Dispute                            Other Enforcement of Judgment Case
      Other PI/PD/WD (23)                      Real Property                                        Miscellaneous Civil Complaint
           Premises Liability (e.g., slip         Eminent Domain/Inverse                                RICO (27)
                 and fall)                            Condemnation (14)                                 Other Complaint (not specified above) (42)
           Intentional Bodily Injury/PD/WD        Wrongful Eviction (33)                                      Declaratory Relief Only
                 (e.g., assault, vandalism)       Other  Real   Property   (e.g., quiet title) (26)           Injunctive Relief Only (non-
           Intentional Infliction of                  Writ  of Possession of Real Property                         harassment)
                Emotional Distress                    Mortgage Foreclosure                                    Mechanics Lien
           Negligent Inflictien of                    Quiet Titlee                                            Other Commercial Complaint
                 Emotional Distress                   Other Real Property (not eminent                             Case (non-tortlnon-complex)
           Other PI/PD/WD                             domain, landlord/tenant, or
                                                                                                              Other Civil Complaint
                    (Other) Tort                      foreclosure)
                                                                                                                   (non-tortlnon-complex)
      Business Tort/Unfair Business            Unlawful Detainer                                    Miscellaneous Civil Petition
          Practice (07)                           Commercial     (31)                                   Partnership and Corporate
      Civil Rights (e.g., discrimination,         Residential (32)                                           Governance (21)
            false arrest) (not civil              Drugs (38) (if the case involves illegal              Other Petition (not specified above) (43)
            harassment) (08)                      drugs,  check   this item;  otherwise,                     Civil Harassment
      Defamation (e.g., slander, libel) (13)      report as Commercial or Residential)
                                                                                                             Workplace Violence
      Fraud (16)                               Judicial Review                                              Elder/Dependent Adult Abuse
      Intellectual Property (19)                  Asset Forfeiture (05)                                     Election Contest
      Professional Negligence (25)                Petition Re:  Arbitration   Award  (11)                   Petition for Name Change
          Legal Malp   ractice                    Writ of Mandate     (02)                                  Petition for Relief From Late Claim
             g Professional
          Other      p          Malpractice           Writ—Administrative Mandamus                          Other Civil Petition
               (not medical or legal)                 Writ—Mandamus on Limited Court
      Other Non-PI/PD/WD Tort (35)                        Case   Matter
 Employment                                           Writ—Other Limited Court Case Review
     Wrongful Termination (36)                    Other Judicial Review (39)
      Other Employment (15)                           Review of Health Officer Order
                                                      Notice of Appeal—Labor Commissioner
CM-010 [Rev. January 1, 2024]                                                                                                             Pa9e 2 of 2
                                                         CIVIL CASE COVER SHEET
Por"yourprotection.and prrvacy, please press. theClear
This Form button after you have printed the form.                                                                                    _    _
                                                              PI int thiS fOr1Tl :   Save this form                          (.C
                                                                                                                             a`e      this form
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                                                          #:46


                      SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO


   Kimberly Bankston-Bradshaw                                             Case No.:         CIVSB2413668

                          vs.                                             CERTIFICATE OF ASSIGNMENT

 Concorde Career College

  A civil action or proceeding presented for filing must be accompanied by this Certificate. If the ground
  is the residence of a party, name and residence shall be stated.
  The undersigned declares that the above-entitled matter is filed for proceedings in the
   San Bernardino                    District of the Superior Court under Rulel 31 and General Order
  of this courtfor the checked reason:
                General                ❑      Collection
               Nature of Action          Ground
 ❑         1. Adoption                  Petitioner resides within the district                 .
 ❑         2. Conservator               Petitioner or conservatee resides within the district.
 ❑         3. Contract                  Performance in the district is expressly provided for.
 ❑         4. Equity                    The cause of action arose within the district.
 ❑         5. Eminent Domain            The property is located within the district.
 ❑         6. Family Law                Plaintiff, defendant, petitioner or respondent resides within the district.
 ❑         7. Guardianship              Petitioner or ward resides within the district or has property within the district.
 ❑         8. Harassment                Plaintiff, defendant, petitioner or respondent resides within the district.
 ❑         9. Mandate                   The defendant functions wholly within the district.
 ❑        10.Name Change                The petitioner resides within the district.
 ❑        11.Personal Injury            The injury occurred within the district.
 ❑        12. Personal Property         The property is located within the district.
 ❑        13. Probate                   Decedent resided or resides within or had property within the district.
 ❑        14. Prohibition               The defendant functions wholly within the district.
 ❑        15. Review                    The defendant functions wholly within the district.
 ❑        16. Title to Real Property    The property is located within the district.
 ❑        17. Transferred Action        The lower court is located within the district.
 ❑        18. Unlawful Detainer         The property is located within the district.
 ❑        19. Domestic Violence         The petitioner, defendant, plaintiff or respondent resides within the district.
 ❑
 X        20. Other Employment           The discrimination occurred within the district.
 ❑        21. THIS FILING WOULD NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT
  The address of the accident, performance, party, detention, place of business, or other factor which qualifies this
  case for filing in the above-designed district is:
     Concorde Career College                                                       201 East Airport Drive
     NAME - INDICATE TITLE OR OTHERQUALIFYING FACTOR                                       ADDRESS


     San Bernardino                                                       CA                                     92408
     CITY                                                                 STATE                                 ZIP CODE

  I declare, under penalty of perjury, that the foregoing is true and correct and that this declaration was
  executed on April 18, 2024             at Los Angeles
  California.
                                                                                                    /IfeyC,
                                                                                           Signature o/Aftomey/Party

Form # 13-16503-360                                    CERTIFICATE OF ASSIGNMENT                             Rev. June 2019
Mandatory Use
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                                                      #:47

.       •       .




                    Superior Court of California-County of San Bernardino

                         ALTERNATIVE DISPUTE RESOLUTION
    What is Alternative Dispute Resolution?
    There are different processes available to settle lawsuits that do not require a trial. In Alternative Dispute
    Resolutions (ADR) a trained, impartial person decides disputes or helps the parties reach resolutions of
    their disputes for themselves. These persons are neutrals, who are normally chosen by the disputing
    parties or the court.

    Advantages of ADR
          Often faster than going to trial.
            •
            •
          Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
            •
          May permit more participation, allowing the parties to have more control over the outcome.
            •
          Allows for flexibility in choice of ADR processes and resolution of the dispute.
            •
          Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
          mutually agree to a remedy.
       •  ADR can be used, even after a lawsuit, if the result is appealed.
    Disadvantages of ADR - ADR may not be suitable for every dispute.
       •  If ADR is binding, the parties normally give up most court protections, including a decision by a judge or
          jury under formal rules of evidence and procedure, and review for legal error if by an appellate court.
       •  ADR may not be effective if it takes place before the parties have sufficient information to resolve the
          dispute.
       •  The neutral may charge a fee for his or her services.
       •  If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional costs
          of trial, such as attorney's fees and expert fees.

    The Most Common Types of ADR: Mediation and Arbitration

                                                       Mediation
    In mediation, the mediator (a neutral) assists the parties in reaching a mutually acceptable resolution of their
    dispute.
    • Unlike lawsuits or some other types of ADR, the parties, rather the mediator decide how the dispute is to be
        resolved.
    • ADR is a cooperative process in which the parties work together toward a resolution that tries to meet everyone's
        interests, instead of working against each other.
    • ADR can be particularly effective when parties have a continuing relationship, such as neighbors or businesses.
    • ADR can be also very effective where personal feelings are getting in the way of a resolution.

                                                      Arbitration
In arbitration, the arbitrator (a neutral) reviews evidence, hears arguments, and makes a decision (award) to resolve
the dispute. This is very different from mediation whereby the mediator helps the parties reach their own resolution.
Arbitration may be more informal, quicker, and less expensive than a trial.
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'TheTe a're two types of arbitration in California:
 • Private arbitration by agreement of the parties involved in the dispute. This type takes place outside of the
     court and normally is binding. In most cases "binding" means that the arbitrator's decision (award) is final
     and there will not be a trial or an opportunity to appeal the decision.
 • Judicial arbitration ordered by the court. The arbitrator's decision is not binding unless the parties agree to
     be bound. A party who does not like the award may file a request for trial with the court within a specified
     time. However, if that party does not receive a more favorable award at trial, the party may have to pay a
     penalty.

                                               More Information

There are several other types of ADR. Some of these include conciliation, settlement conference, fact
finding, mini-trial, Victim Offender Reconciliation Program, and summary trial jury. Sometimes parties
will try a combination of ADR types. The important thing is to try to find the type of ADR that is most
likely to resolve your particular dispute.

The selection of a neutral is also an important decision. There is no legal requirement that the neutral be
licensed or hold any particular certificate. However, some programs have established qualification
requirements for neutrals.

Agreements reached through ADR normally are put into writing and, if the parties wish, may become
binding contracts that can be enforced by the court.

ADR can be used to resolve disputes instead of filing a lawsuit. Even after a lawsuit has been filed, the
court can refer the dispute to a neutral. ADR has also been used to resolve disputes even after trial, when
the result is appealed.

You may wish to seek the advice of an attorney as to your legal rights and matters relating to the dispute
before pursuing ADR.

To locate a dispute resolution program or neutral in your community:
• Contact the California Department of Consumer Affairs (www.dca.ca.gov) Consumer Information Center
    toll free at 800-952-5210, or;
• Contact the local bar association, or;
• Look in a phone directory under mediation or arbitration services.

The following alternate dispute resolution service providers are under contract with the County of San
Bernardino to provide services for the listed types of matters under referral by the Court at no or low cost.
The contractors may also provide additional mediation services outside of their contracts with the County.
                                Civil, family law (exce t custody and support)
                              Landlord-tenant, unlaw,ful detainers, smal! claims:
                          Program Director: Lynne Anderson, Executive Director
                                             City Center Building
                                 Inland Fair Housing & Mediation Board
                                    10681 Foothill Boulevard, Suite 101
                                        Rancho Cucamonga, CA 91730
                                         909-984-2254 or 800-321-0911
                                              Fax: 909-460-0274
                                              www.inmedbd.com
                                                       **
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                  EXHIBIT 2
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                                                 #:50


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     Barri Lyn Friedland (185148)
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 4   Los Angeles, California 90067-3021
     Telephone:    (310) 277-7200
 5   Facsimile: (310) 201-5219

 6   Attorneys for Defendant
     CONCORDE CAREER COLLEGES, INC. (erroneously
 7   named “Concorde Career College”)

 8

 9
                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                        COUNTY OF SAN BERNARDINO
11

12
     KIMBERLY BANKSTON-BRADSHAW,                              Case No. CIVSB2413668
13
                         Plaintiff,                           DEFENDANT’S ANSWER TO
14                                                            PLAINTIFF’S COMPLAINT
              v.
15                                                            Complaint Filed: April 19, 2024
     CONCORDE CAREER COLLEGE; and DOES 1                      Complaint Served: May 10, 2024
16   through 20, inclusive,                                   Trial Date:

17                       Defendants.

18

19
              Defendant Concorde Career College (“Concorde” or “Defendant”), by and through its attorneys,
20
     Seyfarth Shaw, LLP, hereby answers Plaintiff’s unverified Complaint as follows:
21
                                               GENERAL DENIAL
22
              Pursuant to the provisions of Section 431.30 of the California Code of Civil Procedure,
23
     Defendant denies, generally and specifically, each and every allegation, statement, and matter and each
24
     purported cause of action contained in Plaintiff’s unverified Complaint, and without limiting the
25
     generality of the foregoing, denies generally and specifically that Plaintiff has been damaged in any way
26
     by reason of any act or omission of Defendant.
27

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                                DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                            SEPARATE DEFENSES

 2            In further answer to Plaintiff’s Complaint, Defendant asserts the following separate defenses

 3   without assuming any burden of production or proof that it would not otherwise have.

 4                                                FIRST DEFENSE

 5                                                   (Arbitration)

 6            1.     By virtue of the fact that Plaintiff entered into an enforceable agreement to arbitrate that

 7   encompasses all claims alleged in the Complaint, her claims are barred by her contractual agreement to

 8   arbitrate.

 9                                              SECOND DEFENSE
10                                      (Failure to State a Cause of Action)

11            2.     Neither the Complaint as a whole, nor any purported cause of action alleged therein,

12   states facts sufficient to constitute a cause of action or claim for relief against Defendant.

13                                               THIRD DEFENSE

14                                             (Statute of Limitations)

15            3.     Plaintiff’s Complaint, and each and every cause of action purported to be alleged therein,

16   is barred to the extent that any are brought outside the applicable limitations periods. Cal. Code Civ.

17   Proc. §§ 338(a) and 343; Cal. Gov’t Code §§ 12960, 12965.

18                                              FOURTH DEFENSE

19                                                    (Estoppel)
20            4.     Plaintiff’s Complaint is barred, in whole or in part, by the doctrine of estoppel.

21                                                FIFTH DEFENSE

22                                                     (Laches)

23            5.     Plaintiff’s Complaint is barred, in whole or in part, by the doctrine of laches.

24                                               SIXTH DEFENSE

25                                                (Unclean Hands)

26            6.     Plaintiff’s Complaint is barred, in whole or in part, by the doctrine of unclean hands.

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                                                          2
                               DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                             SEVENTH DEFENSE

 2                                                    (Waiver)

 3            7.    Plaintiff’s Complaint is barred, in whole or in part, by the doctrine of waiver.

 4                                              EIGHTH DEFENSE

 5                                  (Exhaustion of Administrative Remedies)

 6            8.    To the extent that Plaintiff makes allegations or claims which were not included in a

 7   timely complaint with the California Civil Rights department, this Court lacks jurisdiction with respect

 8   to any such allegations or claims.

 9                                               NINTH DEFENSE
10                                        (Legitimate Business Decisions)
11            9.    Plaintiff may not obtain the relief requested in his Complaint because any employment

12   action taken towards Plaintiff was based on legitimate non-discriminatory and non-retaliatory factors.

13                                              TENTH DEFENSE

14                                                 (Mixed Motive)
15            10.   Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein,

16   is barred because assuming arguendo that discriminatory and/or retaliatory reasons had been a

17   motivating factor in any decisions toward Plaintiff, which Defendant expressly denies, Defendant would

18   have made the same decisions and taken the same actions toward Plaintiff in any case for legitimate,

19   non-discriminatory and or non-retaliatory reasons.
20                                            ELEVENTH DEFENSE

21                                 (Failure to Take Advantage of Safeguards)
22            11.   Defendant exercised reasonable care to avoid and eliminate discrimination and/or

23   retaliation, and Plaintiff failed to act with reasonable care to take advantage of the safeguards or to avoid

24   harm otherwise.

25                                            TWELFTH DEFENSE

26                                              (Failure to Mitigate)
27            12.   Plaintiff is not entitled to damages for any cause of action purported to be alleged in his

28   Complaint to the extent he failed to mitigate his alleged damages.
                                                          3
                               DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                           THIRTEENTH DEFENSE

 2                                           (After-Acquired Evidence)
 3             13.    To the extent discovery may disclose information which could serve as a basis for the

 4   termination of Plaintiff’s employment, Plaintiff is barred from recovery by the after-acquired evidence

 5   doctrine.

 6                                          FOURTEENTH DEFENSE

 7                                                     (Offset)

 8             14.    Any recovery on Plaintiff’s Demand, and each cause of action alleged therein, is barred

 9   in whole or in part because Plaintiff is entitled to an offset for any monies Plaintiff received from any
10   source after he ceased to be employed under the doctrine prohibiting double recovery set forth by Witt v.

11   Jackson, 57 Cal. 2d 57 (1961), and its progeny.

12                                            FIFTEENTH DEFENSE

13                                               (Punitive Damages)
14             15.    Plaintiff may not recover punitive damages for discriminatory employment decisions, if

15   any, to the extent that those decisions are contrary to Defendant’s written policies instituted against

16   wrongful conduct.

17                                            SIXTEENTH DEFENSE

18                                  (Constitutional Ban On Punitive Damages)
19             16.    Defendant is not liable for any alleged exemplary or punitive damages because such
20   damages violate its rights under the United States and California Constitutions, including, but not

21   limited to, its right to due process and against excessive fines.

22                                                    PRAYER

23             Wherefore, Defendant prays for judgment as follows:

24             1.     That Plaintiff take nothing by the Complaint;

25             2.     That judgment be entered in favor of Defendant and against Plaintiff on all causes of

26   action;

27             3.     That Defendant be awarded reasonable attorney’s fees according to proof;

28             4.     That Defendant be awarded the costs of suit incurred herein; and
                                                          4
                                DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1            5.    That Defendant be awarded such other and further relief as the Court may deem

 2   appropriate.

 3

 4   DATED: June 3, 2024                                  SEYFARTH SHAW LLP
 5

 6                                                        By: /s/ Joshua A. Rodine
                                                              Joshua A. Rodine
 7                                                            Attorneys for Defendant
                                                              CONCORDE CAREER COLLEGES, INC.
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                             DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                             PROOF OF SERVICE

 2   STATE OF CALIFORNIA                                )
                                                        )   SS
 3   COUNTY OF LOS ANGELES                              )

 4          I am a resident of the State of California, over the age of eighteen years, and not a party to the
     within action. My business address is 2029 Century Park East, Suite 3500, Los Angeles, California
 5   90067. On June 3, 2024, I served the within document(s):

 6                         DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT

 7           by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
      
       in the United States mail at Los Angeles, California, addressed as set forth below.
 8
             by personally delivering the document(s) listed above to the person(s) at the address(es) set forth
 9    
       below.
10           by placing the document(s) listed above in a sealed envelope or package provided by an
      
       overnight delivery carrier with postage paid on account and deposited for collection with the
11           overnight carrier at Los Angeles, California, addressed as set forth below.

12           by transmitting the document(s) listed above, electronically, via the e-mail addresses set forth
      
       below.
13
            Timothy D. McGonigle, Esq.                      Email: tim@mcgoniglelaw.net;
14          Timothy D. McGonigle Prof. Corp.
15          1880 Century Park East, Suite 516               Attorneys for Plaintiff
            Los Angeles, CA 90067                           KIMBERLY BANKSTON-BRADSHAW
16          Tel: (310) 478-7110 /

17           I am readily familiar with the firm's practice of collection and processing correspondence for
     mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
18   postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
     served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
19   after date of deposit for mailing in affidavit.

20          I declare under penalty of perjury under the laws of the State of California that the above is true
     and correct.
21
              Executed on June 3, 2024, at Los Angeles, California.
22

23
                                                              ________________________________________
24                                                                     Fern Jenkins

25

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                                                 PROOF OF SERVICE
     311445408v.1
              Case 5:24-cv-01202-KK-SP
6/3/24, 6:11 PM                                  Document 1 Filed 06/07/24 Page 56 of 56 Page ID
                                legalefiling.com/efiling/DisplayOrder.aspx?sessionid=3e6c657a-20da-4a6c-94ae-07f7b1ae8c90
                                                                              #:56
                                                  (StatusOnLine.aspx?sessionid=3e6c657a-20da-4a6c-94ae-07f7b1ae8c90)




Filing Type:             Subsequent Filing                                                              Fee Name                           Amount

Status:                  Submitted                                                                      Filing Fee                                  435.00

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Envelope Number:         15525256
                                                                                                        Convenience Fee                              12.10
Court System:            Tyler - San Bernardino - Unlimited - San
                                                                                                        Total Fees                                  452.10
                         Bernardino

Case Number:             CIVSB2413668

                                                                                                       Order:             LA528447
Case Title:              CIVSB2413668 - BANKSTON-BRADSHAW-v-
                         CONCORDE CAREER COLLEGE et al
                                                                                                       Ord. Date:         6/3/2024
Case Category:           Civil - Unlimited
                                                                                                       Client Ref:        108241.000032
Case Type:               Wrongful Termination Unlimited
                                                                                                       Client:            SEYFARTH SHAW LLP / CC
Filing Attorney:         JOSHUA RODINE                                                                                    (LA239)

                                                                                                       Contact:           Fern Jenkins
                                                                                                                          (fjenkins@seyfarth.com)


  Parties In Case:        Party Type           Party Name                                                        Lead Attorney

                          Plaintiff            KIMBERLY BANKSTON-BRADSHAW                                        Timothy D. McGonigle PC

                          Defendant            CONCORDE CAREER COLLEGE

                          Defendant            Does 1 through 20, inclusive




  Filings In Order:       Filing Code               Reference Number                     Description                  Filing Status            Cancel

                          Answer Filed              LA528447                             Answer Filed                 Submitted                Cancel




Reference:
                                                                     LA528447

Party Responsible For Payment:
                                                                      CONCORDE CAREER COLLEGE

Payment Account:
                                                                      Samira Sadri



                                                                    Back To Completed Orders




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